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                                                                                                                    Election Fraud Violations
                                                                                                                     Prosecutions Resolved




Countya
                                                                                                              d                                                                                                                                b
              Defendant                   Allegation              Election Involved       Cause/Case Number                 Charge(s)               # Offenses Charged   Resolution Date   Statute Violated                       Disposition
                                                                                                                                                                                                              Pled guilty to 1 count attempted illegal voting. 2
                                                                                                                      1 count illegal voting -
  Bee      Melva Kay Ponce               Illegal Voting         2004 General Election      B-05-2101-0-CR-B                                                 1               07/26/05          EC 64.012       years deferred adjudication, $1500 fine w/$500
                                                                                                                       voter impersonation
                                                                                                                                                                                                              probated
                                 Vote Harvesting/Mail Ballot
                                                                                                                     6 counts possession of                                                                   Pled guilty to possession of official ballot or carrier
            Johnny Wayne          Fraud/Assistance Fraud -
Hardeman                                                         2004 Primary Election         013449                official ballot or carrier             6               11/04/05          EC 86.006       envelope of another. 2 years probation, $2000
                Akers           Possession of an official ballot
                                                                                                                      envelope of another                                                                     fine
                                          by another
                                 Vote Harvesting/Mail Ballot
                                  Fraud/Assistance Fraud -                                                           4 counts possessing an
            Virginia Ramos                                        2005 School District                                                                                                                        1 year pre-trial diversion, 12 months community
 Nueces                          Method of returning marked                                  05-CR-9806-4            official ballot or carrier             4               03/22/06          EC 86.006
                 Garza                                                 Election                                                                                                                               supervision
                                 ballot, unlawful assistance,                                                          envelope of another
                                        assisting voter
                                 Vote Harvesting/Mail Ballot
                                  Fraud/Assistance Fraud -                                                           1 count possessing an
                                                                  2005 School District                                                                                                                        1 year pre-trial diversion, 12 months community
 Nueces    Elida Garza Flores    Method of returning marked                                  05-CR-9805-4            official ballot or carrier             1               03/22/06          EC 86.006
                                                                       Election                                                                                                                               supervision
                                 ballot, unlawful assistance,                                                         envelope of another
                                        assisting voter
                                 Vote Harvesting/Mail Ballot
                                                                                                                                                                                                              Pled nolo contendere to 2 counts of possessing an
                                  Fraud/Assistance Fraud -                                                           2 counts possessing an
            Isabel Lisa Rios                                      2005 School District                                                                                                                        official ballot or carrier envelope of another. 1
 Nueces                          Method of returning marked                                  05-CR-9808-3            official ballot or carrier             2               03/22/06          EC 86.006
               Gonzalez                                                Election                                                                                                                               year deferred adjudication, $500 fine, 12 months
                                 ballot, unlawful assistance,                                                          envelope of another
                                                                                                                                                                                                              community supervision
                                        assisting voter
                                 Vote Harvesting/Mail Ballot
                                                                                                                                                                                                              Pled guilty to 1 count of illegally possesing an
                                  Fraud/Assistance Fraud -                                                         1 count illegally possessing
           Josefina Marinas                                       2005 School District                                                                                                                        official carrier envelope of another. 1 year
 Nueces                          Method of returning marked                                  05-CR-9807-1          an official carrier envelope             1               05/04/06          EC 86.006
                Suarez                                                 Election                                                                                                                               deferred adjudication, $500 fine, 12 months
                                 ballot, unlawful assistance,                                                               of another
                                                                                                                                                                                                              community supervision
                                        assisting voter
                                 Vote Harvesting/Mail Ballot                                                        4 counts possession of an                                                                 Found guilty by jury of 4 counts of possession of
 Reeves     Trine Villalobos     Fraud - Method of returning    2004 Primary Election           25,185                official ballot or official           4               06/27/06          EC 86.006       an official ballot or official carrier envelope of
                                        marked ballot                                                              carrier envelope of another                                                                another. 10 days jail / probated for 6 months

                               Vote Harvesting/Mail Ballot
                                Fraud/Assistance Fraud -
                             Unlawfully obstructing watcher,                                                                                                                                                  Pled guilty to possession of an official ballot or
                                                                                                                     7 counts possessing an
                                   unlawfully witnessing                                                                                                                                                      official carrier envelope of another. 8 months
 Bowie     Willie Howard Ray                                   2004 Primary Election         06M1309-CCL             official ballot or carrier             7               07/17/06          EC 86.006
                              application for more than one                                                                                                                                                   deferred adjudication, $200 fine. Original
                                                                                                                       envelope of another
                                   application, unlawful                                                                                                                                                      indictment dismissed.
                              assistance, security of ballots,
                               ballot boxes and envelopes
                              Vote Harvesting/Mail Ballot
                               Fraud/Assistance Fraud -
                            Unlawfully obstructing watcher,
                                                                                                                     2 counts possessing an
                                  unlawfully witnessing
 Bowie     Jamillah Johnson                                   2004 Primary Election          06M0302-CCL             official ballot or carrier             2               07/17/06          EC 86.006       6 months deferred adjudication, $200 fine
                             application for more than one
                                                                                                                       envelope of another
                                  application, unlawful
                             assistance, security of ballots,
                              ballot boxes and envelopes
                                Unlawfully obstructing watcher,
                                      unlawfully witnessing
                                                                                                                     7 counts possessing an
                                 application for more than one
 Bowie      Melinda Hunter                                        2004 Primary Election      06M0301-CCL             official ballot or carrier             7               07/17/06          EC 86.006       6 months pre-trial diversion
                                      application, unlawful
                                                                                                                       envelope of another
                                 assistance, security of ballots,
                                  ballot boxes and envelopes

                                  Vote Harvesting/Mail Ballot
                                                                                                                    2 counts illegal voting-(4)
                                Fraud/Assistance Fraud/Illegal                                                                                                                                                Pled guilty to 2 counts illegal voting. 2 years
 Nueces    Maria Dora Flores                                   2006 Primary Election         06-CR-2166-B            marking a ballot without               2               08/04/06          EC 64.012
                                 Voting - Unlawful assistance,                                                                                                                                                deferred adj probation, $750 fine
                                                                                                                         voter's consent
                                  unlawfully influencing voter
                                 Vote Harvesting/Mail Ballot                                                            5 counts illegally
 Reeves       Anita Baeza        Fraud - Method of returning    2004 Primary Election           25,186                possessing ballots for                5               08/28/06          EC 86.006       6 months pre-trial diversion
                                        marked ballot                                                                    another person




                                                                                                                                                                                                                                    STATE001144
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  Countya
                                                                                                                     d                                                                                                                               b
                  Defendant                   Allegation                Election Involved      Cause/Case Number                   Charge(s)              # Offenses Charged   Resolution Date   Statute Violated                       Disposition
                                                                                                                       3 counts llegal voting-(1)
                                                                                                                      ineligible voter non-citizen,
                                                                                                                             1 count unlawful
                                                                                                                          assistance, 11 counts
                                      Illegal voting, fraudulent                               2006-8-6465, 2006-8-   possessing an official ballot                                                                 Jury verdict of guilty on 2 counts illegal voting, 1
                                                                                                                                                                                                  EC 64.012 / PC
  Calhoun        Debra Briseno         registrations, and vote         2006 Primary Election    6466, 2006-8-6467,        or carrier envelope of                 27               06/25/07                          count tampering with a government record. 5
                                                                                                                                                                                                      37.10
                                     harvesting/mail ballot fraud                            2006-8-6468, 2006-8-6469       another, 6 counts                                                                       years TDCJ
                                                                                                                            tampering with a
                                                                                                                        governmental record, 6
                                                                                                                       counts false statement on
                                                                                                                        a registration application
                                                                                                                                                                                                                    Pled guilty to tampering with government record.
                                                                                                                            4 counts illegal voting, 3
                   Raymond                                                                                                                                                                                          2 years TDCJ suspended for 5 years community
   Refugio                             Illegal Voting, Tampering       2006 Primary Election 2007-2-4809, 2007-2-4810         count tampering with                7               10/09/07          PC 37.10
                   Villarreal                                                                                                                                                                                       supervision, $1,500 fine, 90 days jail, $2,090
                                                                                                                              governmental record
                                                                                                                                                                                                                    restitution
Starr/ Brooks     Noelia Lopez               Illegal voting            2006 General Election      07-07-09767 CR              1 count illegal voting                              01/24/08          EC 64.012       Dism'd
                                      Forgery, tampering with a                                                               Possession of forged
    Hays         Mark Littlefield                                      2006 Special Election           89,288                                                     1               02/01/08          PC 32.21        1 year pre-trial diversion, $300 donation
                                       government document                                                                        instrument
                                                                                                                                                                                                                    Pled guilty to illegal voting. 2 years deferred
                                                                                                                           1 count illegal voting-(2)
Starr/ Brooks   Jose Rene Gomez              Illegal voting            2006 General Election      07-05-09743 CR                                                  1               05/01/08          EC 64.012       adjudication, $300 fine, 2 years community
                                                                                                                            voting more than once
                                                                                                                                                                                                                    supervision (Motion to Adjudicate)
                                                                                                                                                                                                                    Pled guilty to 12 counts possessing a ballot
                                                                                                                            12 counts possessing a
                                      Vote Harvesting/Mail Ballot                                                                                                                                                   without the voters's consent. 2 years deferred
Starr/ Brooks    Oscar Luis Rios                                       2006 Primary Election      07-05-09741 CR           ballot without the voter's            12               05/01/08          EC 86.006
                                                Fraud                                                                                                                                                               adjudication, $300 fine, 2 years community
                                                                                                                                    consent
                                                                                                                                                                                                                    supervision
                                                                                                                               1 count unlawfully
                                                                                                                                                                                                                    Jury verdict of guilty to engaging in organized
                                                                                                                            accepting contribution, 1
                   Michael C.       Unlawfully accepting campaign                       56732-B, 56733-B,         56734                                                                                             criminal activity. 10 years confinement,
   Potter                                                         2008 Primary Election                                     count organized criminal              3               06/12/08           PC 71.02
                   Shumate               donations, bribery                                        B                                                                                                                suspended for 8 years, community supervision
                                                                                                                           activity,1 count unlawfully
                                                                                                                                                                                                                    with 180 days jail as a condition, $5,000 fine
                                                                                                                             accepting contribution,
                                     Vote Harvesting/Mail Ballot                                                                                                                                                    Pled guilty to possession of official ballot or carrier
                                                                                                                             6 counts possession of
                                      Fraud/Assistance Fraud,                                                                                                                                                       envelope of another. 1 year deferred
Duval/ Brooks     Lydia Molina                                     2006 Primary Election        08-01-09864, 11479           official ballot or carrier           6               10/02/08          EC 86.006
                                    unlawful buying and selling of                                                                                                                                                  adjudication, $300 fine, 12 months community
                                                                                                                              envelope of another
                                          ballot materials                                                                                                                                                          supervision
                                     Vote Harvesting/Mail Ballot                                                                                                                                                    Pled guilty to possession of official ballot or carrier
                                                                                                                             6 counts possession of
                                      Fraud/Assistance Fraud,                                                                                                                                                       envelope of another. 1 year deferred
Duval/ Brooks    Maria Soriano                                     2006 Primary Election        08-01-09863, 11480           official ballot or carrier           6               10/02/08          EC 86.006
                                    unlawful buying and selling of                                                                                                                                                  adjudication, $300 fine, 12 months community
                                                                                                                              envelope of another
                                          ballot materials                                                                                                                                                          supervision
                                                                                                                                                                                                                    Pled guilty to possession of official ballot or carrier
                                     Unlawful assistance, unlawful                                                           3 counts possession of
                 Elva Gutierrez                                                                                                                                                                                     envelope of another. 1 year deferred
Duval/ Brooks                         buying and selling of ballot     2006 Primary Election    08-01-09865, 11482           official ballot or carrier           3               10/02/08          EC 86.006
                      Lazo                                                                                                                                                                                          adjudication, $300 fine, 12 months community
                                               materials                                                                      envelope of another
                                                                                                                                                                                                                    supervision
                                     Vote Harvesting/Mail Ballot                                                                                                                                                    Pled guilty to possession of official ballot or carrier
                                                                                                                             2 counts possession of
                 Maria Adelina        Fraud/Assistance Fraud,                                                                                                                                                       envelope of another. 1 year deferred
Duval/ Brooks                                                      2006 Primary Election        08-01-09866, 11481           official ballot or carrier           2               10/02/08          EC 86.006
                     Trigo          unlawful buying and selling of                                                                                                                                                  adjudication, $300 fine, 12 months community
                                                                                                                              envelope of another
                                          ballot materials                                                                                                                                                          supervision
                                                                                                                                                                                                                    Pled nolo contendere to 1 count unlawfully
                                      Unlawfully divulged voting                                                               1 count unlawfully
                 Jami Parkinson                                           2008 Municipal                                                                                                                            revealing information before polls close. 2 years
   Goliadc                           results prior to the closing of                               08-8-8967 CR              revealing information                1               11/12/08          EC 61.007
                    Billings                                                 Election                                                                                                                               deferred adjudication, $3,000 fine, 2 years
                                                  polls                                                                        before polls close
                                                                                                                                                                                                                    community supervision
                                                                                                                            11 counts possessing a                                                                  Pled guilty to 11 counts possesing a ballot without
                                      Vote Harvesting/Mail Ballot         2006 Municipal
Starr/ Brooks   Guadalupe Rios                                                                    08-08-09945 CR           ballot without the voter's            11               03/16/09          EC 86.006       the voter's consent. 2 years probated for 4 years
                                                Fraud                        Election
                                                                                                                                    consent                                                                         probation, $500 fine, 60 days house arrest
                                           Illegal Voting/Vote                                                             15 counts of possessing a
Starr/ Brooks    Oralia Frausto          Harvesting/Mail Ballot      2006 Primary Election        07-05-09738 CR           ballot without the voter's            15               03/26/09          EC 86.006       1 year pre-trial diversion
                                        Fraud/Assistance Fraud                                                                      consent
                                           Illegal Voting/Vote                                                              5 counts of possessing a
Starr/ Brooks    Maria Gonzalez          Harvesting/Mail Ballot      2006 Primary Election        07-05-09742 CR           ballot without the voter's             5               03/26/09          EC 86.006       1 year pre-trial diversion
                                        Fraud/Assistance Fraud                                                                      consent
                                     Misrepresentation of identity -
  Aransas/                                                                                                                    Misrepresentation of                                                                  Pre-trial diversion for 1 year, 60 hours of
                 Gallaher, Todd     intent to manipulate election or 2008 Primary Election          C08999934                                                     1               05/21/09         E.C. 255.005
   Travisc                                                                                                                          identity                                                                        community service, completed early.
                                             injure candidate
            c                                                             2008 Municipal                                   1 count of illlegal voting-                                                              Pled guilty for 5 years TDCJ, probated for 5 years
  Hidalgo          Paulito Nilo          Illegal Voting - Felon                                    CR-2622-09-F                                                   1               09/29/09         E.C. 64.012
                                                                             Election                                      (1) ineligible voter felon                                                               of community supervision, 1 day in jail, $500 fine
                                     Divulged election results prior
                                        to the closing of polls on     2007 School District                                                                                                                         Pled guilty to 3 counts of false report to a peace
                   Leland Mac                                                                                               3 counts false report to
     Hill                           election day; made false report       and Municipal              M0593-09                                                     3               10/14/09          PC 37.08        officer. 2 years probation, $2000 fine, 90 days in
                    Coffman                                                                                                      peace officer
                                    to peace officer about divulging        Election                                                                                                                                jail, probated
                                                  results


                                                                                                                                                                                                                                          STATE001145
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   Countya
                                                                                                                      d                                                                                                                              b
                     Defendant                  Allegation                 Election Involved      Cause/Case Number                Charge(s)              # Offenses Charged   Resolution Date   Statute Violated                       Disposition
                                                                                                                            1 count illegal voting-(3)                                                               Pled guilty to 1 count fraudulent use of identiying
                     Jack Carol        Illegal Voting - Impersonation
    Harrisc                                                           2008 Primary Election             1215818              voter impersonation at               1               10/06/09           EC 64.012       information, 1 year deferred adjudication, $200
                      Crowder                of deceased voter
                                                                                                                                    polling place                                                                    fine
                                                                           2007 Municipal and                               2 counts illegal voting-(1)                                                              Pled guilty to illegal voting, 2 years TDCJ, $500
 Starr/Brooks        Raul Reyna            Illegal Voting - Felon                                   09-04-09980 CR                                                2               11/05/09           EC 64.012
                                                                             School Election                                   ineligible voter felon                                                                fine
                                                                                                                                                                                                                     Pled guilty to illegal voting, 10 years TDCJ-
                                                                           2007 Municipal and                               2 counts illegal voting-(1)
 Starr/Brooks       Cynthia Pena           Illegal Voting - Felon                                   09-04-09881 CR                                                2               11/05/09           EC 64.012       suspended, 4 years community supervision, $500
                                                                             School Election                                   ineligible voter felon
                                                                                                                                                                                                                     fine
                                                                             2007 Municipal                                 1 count illegal voting-(1)                                                               Pled guilty to 1 count of illegal voting, 5 years
 Starr/Brooks     Elizabeth Martinez       Illegal Voting - Felon                                   09-04-09982 CR                                                1               11/05/09           EC 64.012
                                                                                Election                                      ineligible voter felon                                                                 TDCJ
                                                                                                                               2 counts of official                                                                  Dismissed Indictment. Defense motion for
    Panola           Drew Nixon          Official oppression; voting      2006 Special Election       2007-C-0193                                                 2               01/28/10           PC 39.03
                                                                                                                                    oppression                                                                       collateral estoppel granted.
                                                                                                                               7 counts knowingly
   Dimmit/         Maria Mendoza        Vote Harvesting/Mail Ballot                                                         provide false information                                                                12 months pre-trial diversion, $60 supervision
                                                                          2006 Primary Election     08-11-00052 CRL                                               7               04/15/10          EC 84.0041
   LaSalle             Garcia                     Fraud                                                                      on an application for an                                                                fee, 80 hours of community service
                                                                                                                                early voting ballot
                                                                                                                               7 counts knowingly
   Dimmit/                              Vote Harvesting/Mail Ballot                                                         provide false information
                  Estela Cruz Saenz                                       2006 Primary Election     08-12-00063 CRL                                               7               04/15/10          EC 84.0041       6 months pre-trial diversion, $60 supervision fee
   LaSalle                                        Fraud                                                                      on an application for an
                                                                                                                                early voting ballot
                                                                                                                              4 counts of method of                                                                  Pled guilty to unlawful possession of ballot, 12
Jim Wells/ Live      Zaida Cantu        Vote Harvesting/Mail Ballot
                                                                          2008 Primary Election          20068               returned marked ballot               4               06/24/10           EC 86.006       months probation, 180 days in jail (suspended),
     Oak                Bueno                     Fraud
                                                                                                                                  (less than 10)                                                                     $200 fine, 40 hours of community service

                                                                                                                              8 counts of method of                                                                  Pled guilty to unlawful possession of ballot, 12
Jim Wells/ Live                         Vote Harvesting/Mail Ballot
                    Norma Lopez                                           2008 Primary Election          20067               returned marked ballot               8               06/24/10           EC 86.006       months probation, 180 days in jail (suspended),
     Oak                                          Fraud
                                                                                                                                  (less than 10)                                                                     $200 fine, 40 hours of community service

                                                                                                                              3 counts of method of                                                                  Pled guilty to unlawful possession of ballot, 12
Jim Wells/ Live                         Vote Harvesting/Mail Ballot
                    Cynthia Lopez                                         2008 Primary Election          20066               returned marked ballot               3               06/24/10           EC 86.006       months probation, 180 days in jail (suspended)
     Oak                                          Fraud
                                                                                                                                  (less than 10)                                                                     $200 fine, 40 hours of community service.

   Hidalgo/        Ruben Trevino       Illegal voting - felon, bribery,   2008 School District                              1 count illegal voting-(1)                                                               Pled guilty, 8 years TDCJ-ID suspended for 8
                                                                                                    09-09-10116 CR                                                1               06/17/10           EC 64.012
   Brooks             Garcia               and official misconduct             Election                                       ineligible voter felon                                                                 years community supervision, $500 fine

                                         Vote Harvesting/Mail Ballot                                                       1 count of carrier envelope
                                                                                                                                                                                                                     Pled guilty, 6 months community supervision, 180
    Starrc          Raul Pena, Jr.     Fraud - Unlawful possession of 2010 Primary Election            CR-10-371            action by another person              1               06/22/10          EC 86.0051
                                                                                                                                                                                                                     days in jail (suspended), $500 fine
                                       56 mail-in ballots by candidate                                                           other than voter
                                        Vote Harvesting/Mail Ballot
                                        Fraud - Providing fraudulent                                                          1 count of unlawful
 Starr/Brooks      Mary Lou Garza                                         2006 Primary Election     07-07-09768 CR                                                1               09/15/10           EC 13.145       Jury trial resulting in hung jury, dism'd
                                         registration cards to vote                                                          delivery of a certificate
                                                 harvesters
   Hidalgo/         Mario Manuel       Illegal voting - felon, bribery,   2008 School District                              1 count illegal voting-(1)
                                                                                                    09-09-10117 CR                                                1               11/10/10           EC 64.012       Pled guilty, 2 years TDCJ-ID
   Brooks             Medrano              and official misconduct             Election                                       ineligible voter felon
                                                                                                                               1 count of unlawful                                                                 Pled guilty to Possession of a Ballot and Unlawful
                       Christina        Vote Harvesting/Mail Ballot                                                           assistance, 1 count of                                                               Assistance, and received 1 year deferred
Duval/Live Oak                                                            2008 Primary Election      20080, 20081                                                 2               12/14/10       EC 64.036, 86.006
                    Lichtenberger        Fraud/Assistance Fraud                                                                method of returned                                                                  adjudication, and paid a $1000 fine and court
                                                                                                                                  marked ballot                                                                    costs
                                                                                                                               1 count of unlawful
                   Andrea Campos        Vote Harvesting/Mail Ballot                                                           assistance, 1 count of                                                                 Pre-trial diversion 6 months, $3,500 donation to
Duval/Live Oak                                                            2008 Primary Election      20082, 20083                                                 2               12/14/10       EC 64.036, 86.006
                      Bierstedt          Fraud/Assistance Fraud                                                                method of returned                                                                    the county
                                                                                                                                  marked ballot
                                                                                                                              4 counts of unlawful                                                                   Pled guilty to 4 counts of Possession of a Ballot
                                                                                                  20084, 20085, 20086,
                                        Vote Harvesting/Mail Ballot                                                          assistance, 4 counts of                                                                 and 4 counts of Unlawful Assistance, and received
Duval/Live Oak Alicia Pena Perez                                          2008 Primary Election   20087, 20088, 20089,                                            8               12/14/10       EC 64.036, 86.006
                                         Fraud/Assistance Fraud                                                               method of returned                                                                     1 year jail, probated for 12 months, and paid a
                                                                                                     20090, 20091
                                                                                                                                  marked ballot                                                                      $1000 fine and court costs
                                                                             2009 Municipal                                                                                                                          Pled guilty, received four years of deferred
                                                                                                                            1 count of Illegal Voting-
    Smith           Ronald Marsh               Illegal Voting                Election - Local         241-1682-11                                                 1               03/23/11          E.C. 64.012      adjudication, a $1,000 fine, and 100 hours of
                                                                                                                               (1) ineligible voter
                                                                                 Option                                                                                                                              community service hours
                                                                             2009 Municipal
                                                                                                                            1 count of Illegal Voting-                                                               Plea bargain in 241-1682-11 for guilty plea to
    Smith         Ann Marie Marsh              Illegal Voting                Election - Local         241-1681-11                                                                 03/23/11          E.C. 64.012
                                                                                                                               (1) ineligible voter                                                                  def'd adj resulting in dismissal.
                                                                                 Option
                                       Unlawfully accepting a voter,
                   Ester Sandoval        unlawfully permitting the                                                          1 count of tampering of a                                                                Pled guilty to one count of misdemeanor
    Bexar                                                                 2010 Primary Election      2010-W-0375                                                  1               03/23/11           P.C. 37.10
                  Martinez-Moreno      deposit of a ballot, and illegal                                                       governmental record                                                                    Tampering, 1 year probation
                                                   voting
                                                                                                                             2 counts of attempted
                                                                                                                                                                                                                     Pled guilty to attempted illegal voting for
    Dallas/                                Illegal Voting - Voter                                                            illegal voting-(3) voter
                  Delores McMillian                                       2010 Primary Election     11082011CCL-A                                                 2               06/16/11          E.C. 64.012      impersonating a voter, 1 year probation, paid
   Rockwall                                    Impersonation                                                                impersonation at polling
                                                                                                                                                                                                                     $227 court costs.
                                                                                                                                       place
  Duval/ Jim        Regino Cantu                                                                                            1 count of illlegal voting-                                                              Pled guilty for 2 years probation, 90 days in jail,
                                           Illegal Voting - Felon         2008 Primary Election     11-02-13251-CR                                                1               08/31/11          E.C. 64.012
    Wells             Salinas                                                                                               (1) ineligible voter felon                                                               and a $2000 fine

                                                                                                                                                                                                                                          STATE001146
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 Countya
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                 Defendant                   Allegation                Election Involved      Cause/Case Number                   Charge(s)               # Offenses Charged   Resolution Date   Statute Violated                       Disposition
                                                                                                                                                                                                                     Convicted by a jury on 11/16/11, sentenced to 2
 Hidalgo/                                                             2009 School District                                 1 count of illegal voting-                                                                years TCDJ, suspended for 5 years on probation,
               Reyna Almanza                Illegal voting                                      10-03-10342-CR                                                    1               12/01/11         E.C. 64.012
 Brooks                                                                    Election                                        (3) voter impersonation                                                                   90 days in County Jail as a condition of probation,
                                                                                                                                                                                                                     $313 court costs
                                   Voter impersonation (voting for
                                   20 years using the identity of a
                                    deceased voter still on voter                                                                                                                                                     Statute of limitations tolled by filing of indictment
                                    rolls, while voting herself by                                                        2 counts of illegal voting -                                                                on 9/18/11. Defendant declared incompetent to
  Bexar        Mary Comparin                                        2008 General Election        2011-CR-7939                                                     2                              E.C. 64.012 (a) 3
                                     mail ballot), benefits fraud                                                            voter impersonation                                                                     stand trial. Cause 2011-CR-7939 closed, case left
                                      (receiving SS benefits for                                                                                                                                                                           pending.
                                       herself and a deceased
                                              individual)
                                                                                                                                                                                                                     Pled guilty, 1 year deferred adjudication
                                                                                                                                                                                                                     community supervision, 20 hours community
               Shank, Christine                                                                                              1 count of Unlawful
  Brazos                            Unlawfully Influencing Voter      2010 General Election   11-05590-CRM-CCL1                                                   1               02/06/12         E.C. 64.036       service, $332.00 court costs, $500.00 fine,
                  Thomas                                                                                                         Assistance
                                                                                                                                                                                                                     prohibited from offering assistance in the election
                                                                                                                                                                                                                     process to anyone
  Dallas/                              Aggravated perjury in                                                               4 counts of aggravated
               Name Removed                                           2010 Primary Election                                                                       4               02/16/12         E.C. 64.012       Expunged
 Rockwall                           connection with Illegal Voting                                                                perjury
  Dallas/                                                                                                                 1 count of illegal voting -
               Name Removed                 Illegal Voting            2010 Primary Election                                                                       1               02/16/12         E.C. 64.012       Expunged
 Rockwall                                                                                                                      ineligible voter
  Dallas/                                                                                                                 3 counts of illegal voting -
               Name Removed                 Illegal Voting            2010 Primary Election                                                                       3               02/16/12         E.C. 64.012       Expunged
 Rockwall                                                                                                                      ineligible voter
  Dallas/                                                                                                                 3 counts of illegal voting -
               Name Removed                 Illegal Voting            2010 Primary Election                                                                       3               02/16/12         E.C. 64.012       Expunged
 Rockwall                                                                                                                      ineligible voter
                                                                                                                                                                                                                     Elected Justice of the Peace convicted at bench
                                                                                                                                                                                                                     trial of illegal voting - ineligible voter, 5 years
  Dallas/                                                                                                                 2 counts of illegal voting -
               Carlos Medrano               Illegal Voting            2010 Primary Election        2-11-418                                                       2               02/27/12         E.C. 64.012       TDCJ, probated for 5 years, 180 days in jail as a
 Rockwall                                                                                                                      ineligible voter
                                                                                                                                                                                                                     condition of probation, $2500 fine, removed from
                                                                                                                                                                                                                     office
  Dallas/       Robert Edward                                                                                             3 counts of illegal voting -                                                               In exchange for acknowledgement of offense and
                                            Illegal Voting            2010 Primary Election        2-11-420                                                       3               02/16/12         E.C. 64.012
 Rockwall         Medrano                                                                                                      ineligible voter                                                                      cooperating testimony at trial, charges dism'd
                                                                                                                                                                                                                     Pled guilty to two counts of aggravated perjury, 4
                                                                                                                                                                                                                     years TDCJ probated for 4 years community
  Dallas/                            Illegal Voting, aggravated                                                            6 counts of aggravated
               Rolando Medrano                                        2010 Primary Election        2-11-416                                                       6               02/29/12          P.C. 37.03       supervision, $5,000 fine, $219 Court Coust., 45
 Rockwall                                      perjury                                                                            perjury
                                                                                                                                                                                                                     days in jail as a condition of probation, work
                                                                                                                                                                                                                     release day for day
                                                                                                                          1 count of illlegal voting -
  Dallas/                            Illegal Voting, aggravated                                                                                                                                  E.C. 64.012, P.C.
               Raquel Medrano                                         2010 Primary Election    2-11-108, 2-11-414        ineligible voter, 5 counts of            6               02/28/12                           Dism'd upon conviction of defendant in 2-11-418
 Rockwall                                      perjury                                                                                                                                                 37.03
                                                                                                                              aggravated perjury
                                                                                                                          4 counts of possession of
                                                                                                                          an official ballot or carrier
                                                                                                                                                                                                                     Pled guilty to two counts of Unlawful Assistance,
                                                                                                                            envelope, 3 counts of
                                     Vote Harvesting/Mail Ballot                                                                                                                                                     two counts of Possession of a Ballot, and two
  Dallas/                                                                                                                     unlawful assistance                                                  E.C. 86.006,
               Gilda Hernandez        Fraud/Assistance Fraud -        2010 Primary Election     11082011CCL-B                                                     9               04/05/12                           counts of Failure to Provide Identifying
 Rockwall                                                                                                                   (influencing voter), 2                                                64.036. 86.010
                                          Influencing Voter                                                                                                                                                          Information While Assisting a Voter, and received
                                                                                                                           counts failure to provide
                                                                                                                                                                                                                     one year of deferred adjudication and a $250.
                                                                                                                             identifying info while
                                                                                                                                assisting voter
 Hidalgo/       Jose De Jesus                                         2008 School District                                1 count illegal voting-(1)                                                                 Pled guilty, received 10 years TDCJ, probated for
                                    Illegal voting - felon, bribery                             09-09-10115 CR                                                    1               06/14/12          EC 64.012
 Brooks             Cano                                                   Election                                         ineligible voter felon                                                                   10 years, $1,000 fine, and $313 court costs
Henderson/                                                              2009 Municipal                                    1 count of Illegal Voting-
                 Frank Ross                 Illegal Voting                                        241-1683-11                                                     1               06/19/12         E.C. 64.012       Dism'd
  Smith                                                                     Election                                         (1) ineligible voter
                                                                       2010 Municpal and                                                                                                                             Pled guilty to illegal voting (1 ct), sentenced to 3
           c                                                                                                              2 counts illegal voting by
 Hidalgo        Angel Trujillo          Illegal Voting - Felon           School District         CR-1914-12-E                                                     2               08/08/12         E.C. 64.012       years TDCJ-probated for community supervision,
                                                                                                                               ineligible voter
                                                                            Election                                                                                                                                 $750 fine.
                                        Unlawfully revealing                                                                 Unlawfully Revealing
               Baudelia Zapata                                           2008 Municipal
 Hidalgoc                           information before the polls                                   12-03529                Information before polls                               12/27/12          E.C 61.007       No Bill
                   Rojas                                                    Election
                                               close                                                                                close
           c                                                             2008 Municipal
 Hidalgo       Sylvia Salas Vela            Illegal Voting                                         12-03519                      Illegal Voting                                   12/27/12         E.C. 64.012       No Bill
                                                                            Election
           c                                                             2008 Municipal                                      Method of returning
 Hidalgo        Salvador Vela          Mail in ballot violation                                    12-03528                                                                       12/27/12          E.C 86.006       No Bill
                                                                            Election                                           marked ballot
                                                                                                                                                                                                                     Pled guilty to illegal voting, sentenced to 2 years
           c                                                                                                              1 count of Illegal Voting-
 Hidalgo       Fermina Castillo         Illegal Voting - Felon        2010 General Election      CR-1913-12-I                                                     1               01/17/13         E.C. 64.012       deferred with community supervison and $100
                                                                                                                          (1) ineligible voter felon
                                                                                                                                                                                                                     fine.
                                                                                                                                                                                                                     Pled no contest to Unlawfully Assisting Voter
                                     Vote Harvesting/Mail Ballot
               Margarita Rangel                                                                                               1 count Unlawfully                                                                     (Class A Misdemeanor) 12 month county jail,
 Cameron                              Fraud/Assistance Fraud;         2010 Primary Election     2013-DCR-00484                                                    1               05/30/13         E.C. 86.010
                   Ozuna                                                                                                        Assisting Voter                                                                      probated for 12 month community service.
                                          Influencing Voter
                                                                                                                                                                                                                     $250.00 fine.



                                                                                                                                                                                                                                          STATE001147
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 Countya
                                                                                                               d                                                                                                                                b
               Defendant                   Allegation               Election Involved      Cause/Case Number                 Charge(s)              # Offenses Charged   Resolution Date   Statute Violated                       Disposition
                                                                                                                                                                                                               Pled guilty to Illegal Voting - voter impersonation,
                                                                                                                      2 counts of illegal voting-
 Hidalgo/    Lorenzo Antonio          Illegal Voting - Voter       2009 School District                                                                                                                        Illegal Voting - voting twice, sentenced to 2 years
                                                                                             10-03-10343-CR          (3) voter impersonation at             2               06/24/13         E.C. 64.012
 Brooks          Almanza                  Impersonation                 Election                                                                                                                               TDCJ on both counts, run concurrently, $313
                                                                                                                            polling place
                                                                                                                                                                                                               court costs
                                                                                                                                                                                                               Convicted during a jury trial, 1 count of illegal
                                                                                                                                                                                                               voting (1) ineligible voter, 3 years TDCJ, $10,000
               James Alan                                                                                            1 count of illegal voting -
Montgomery                         Illegal Voting - Residency      2010 Special Election     12-03-025479-CR                                                1               06/28/13          E.C 64.012       fine and $364.00 in court costs
                 Jenkins                                                                                                  ineligible voter
                                                                                                                                                                                                               reversed/remanded by 14th COA, pending new
                                                                                                                                                                                                               trial
               Peter Joseph      False statement on application,                                                     1 count of illegal voting -
Montgomery                                                       2010 Special Election       12-03-02581-CR                                                 1               07/12/13         E.C. 64.012       1 year Probation - Pre-trial Diversion Program
                Goeddertz                  illegal voting                                                                 ineligible voter
                                                                                                                                                                                                               Convicted during a jury trial, 1 count of illegal
                                 False statement on application,                                                     1 count of illegal voting -
Montgomery     Adrian Heath                                      2010 Special Election       12-03-025480-CR                                                1               10/31/13         E.C. 64.012       voting (1) ineligible voter. Sentenced to 3 years
                                           illegal voting                                                                 ineligible voter
                                                                                                                                                                                                               TDCJ and $10,000 fine, $334.00 in court costs.

                                                                                                                                                                                                               Convicted at jury trial, 1 count of illegal voting (1)
                                 False statement on application,                                                     1 count of illegal voting -                                                               ineligible voter. Sentenced by deferred
Montgomery   Sybil Lea Doyle                                     2010 Special Election       12-03-02583-CR                                                 1               04/02/14         E.C. 64.012
                                           illegal voting                                                                 ineligible voter                                                                     agreement, 3 years TDCJ, probated for 5 years,
                                                                                                                                                                                                               $5,000 fine and $359.00 in court costs.
                                                                                                                                                                                                               Convicted at bench trial, 1 count of illegal voting
             Roberta Margaret False statement on application,                                                        1 count of illegal voting -                                                               (1) ineligible voter. Sentenced by deferred
Montgomery                                                    2010 Special Election          12-03-02585-CR                                                 1               04/02/14          E.C 64.012
                  Cook                  illegal voting                                                                    ineligible voter                                                                     agreement, 3 years TDCJ, probated for 5 years,
                                                                                                                                                                                                               $5000 fine.
                                                                                                                                                                                                               Pled guilty to illegal voting attempted (felon
                                                                      2010 Municipal                                 1 count of illegal voting -                                                               voter) Class A misdeameanor. Sentenced to 10
 Cameronc      Garza, Israel          Illegal Voting - Felon                                 2013-DCR-00957                                                 1               04/10/13          E.C 64.012
                                                                         Election                                     ineligible voter (felon)                                                                 months confinement, 2 years probation, fine
                                                                                                                                                                                                               $2500
                                 False statement on application,                                                     1 count of illegal voting -                                                               1 year Deferred Prosecution Probation. Eligible
Montgomery   Name Removed                                        2010 Special Election       12-03-xxxxx-CR                                                 1               05/15/14         E.C. 64.012
                                           illegal voting                                                                 ineligible voter                                                                     for expunction after serving 12 mos probation.
              William Mervin     False statement on application,                                                     1 count of illegal voting -                                                               3 years Deferred Adjudication, $2,500.00 fine,
Montgomery                                                       2010 Special Election       12-03-02586-CR                                                 1               10/23/14          E.C.64.012
                 Berntsen                  illegal voting                                                                 ineligible voter                                                                     $334.00 in court costs

                                                                                         14-CCR-02977-A/14-CCR-           3 counts - Carrier
                                                                                          02983-A/14-CCR-02984-       Envelope Action: Person
                                                                                           A/14-CCR-02985-A/14-      Other than voter (Misd B),
                                                                                           CCR-02987-A/14-CCR-       3 counts - Assisting Voter                                            E.C 86.0051 / E.C
                                  Vote Harvesting/Mail Ballot                                                                                                                                                  Pled guilty to unlawful assistance of voter, 6
                                                                   2012 Primary Election 02989-A/14-CCR-02991-          Violation (Misd A), 3                                                86.010 / E.C
 Cameron     Tomasa Chavez         Fraud/Assistance Fraud;                                                                                                 13               01/22/15                           month confinement, probated for 1 year of
                                                                          Runoff           A/14-CCR-02993-A/14-          counts - Method of                                                  86.006 / E.C
                                       Influencing Voter                                                                                                                                                       community supervison, fine $250.
                                                                                           CCR-02995-A/14-CCR-        Returning Marked Ballot                                                   64.036
                                                                                          02996-A/14-CCR-02997-          (Misd B), 4 count -
                                                                                           A/14-CCR-02999-A/14-        Unlawful Assistance to
                                                                                               CCR-03003-A                  Voter (Misd A)

                                                                                                                     Indicted 1 count of illegal                                                               Pled guilty to illegal voting (felon) Sentenced to
 Jim Wells   Benito Aranda Jr.        Illegal Voting - Felon       2012 Primary Election     14-07-13904-CR          voting(1) ineligible voter             1               02/18/15          E.C 64.012       10 years confinment, probated for 10 years of
                                                                                                                         felon 2nd Felony                                                                      community supervision
                                                                                                                     Indicted 1 count of illegal                                                               Pled guilty to illegal voting (felon) Sentenced to
              Mark Homero
 Jim Wells                            Illegal Voting - Felon       2012 Primary Election     14-07-13903-CR          voting(1) ineligible voter             1               02/18/15          E.C 64.012       10 years confinment, probated for 10 years of
                Almaraz
                                                                                                                         felon 2nd Felony                                                                      community supervision
                                   Unlawfully rejecting voters,                                                                                                                                                Pled guilty to counts 1-6 for attempted Illegal
                Jorge Luis                                            2008 Municipal
  Hidalgo                         illegal voting, and unlawfully                              CR-2623-09-B           12 counts of illegal voting           12               02/25/15          E.C.64.012       Voting (Class A). Three years community
                 Martinez                                                Election
                                         accepting voters                                                                                                                                                      supervision Counts 7-12 were dismissed
                                   Vote Harvesting/Mail Ballot                                                      1 Count - Unlawful                                                                         Pled guility to unlawful assistance of a voter.
                                                                   2012 Primary Election
 Cameron      Facunda Garcia         Fraud/Assistance Fraud;                                 14-CCR-02980-A     Assistance to Voter (Misd.                  1               03/19/15          E.C 64.036       Sentenced to 3 day confinement in county jail and
                                                                          Runoff
                                         Influencing Voter                                                                    A)                                                                               $250 00 fine
                                                                                                                1 count - Carrier Envelope
                                                                                                                Action: Person Other than
                                                                                                                 voter (Misd B), 1 Count -
                                  Vote Harvesting/Mail Ballot                                                                                                                              E.C 86.0051 / E.C   1 year probation under diversion program
                                                                   2012 Primary Election 14-CCR-02979-A/14-CCR-    Method of Returning
 Cameron      Bernice Garcia       Fraud/Assistance Fraud;                                                                                                  3               04/08/15         86.006 / E.C      (Deferred Pros.) for offense of unlawfully assisting
                                                                          Runoff         03010-A/14-CCR-03011-A Marked Ballot (Misd B), 1
                                       Influencing Voter                                                                                                                                        64.036         voter.
                                                                                                                     count - Unlawful
                                                                                                                Assistance to Voter (Misd
                                                                                                                              A)
                                                                                                                    1 Count -Method of
                                                                                                                  Returing Marked Ballot
                                   Vote Harvesting/Mail Ballot                                                                                                                                                 Pled no contest to Method of Returning Marked
               Rafael Angel                                        2012 Primary Election                        more than 10 but less than
 Cameron                          Fraud - Method of Returning                               2015-DCR-00269-D                                                1               06/12/15         E.C. 86.006       Ballot =10<20, (Class A). Sentenced to three
                 Elizondo                                                 Runoff                                  20 offical ballots/carrier
                                         Marked Ballot                                                                                                                                                         days in county jail. and taken into custody.
                                                                                                                 envelopes. ( 3rd Degree
                                                                                                                           Felony)




                                                                                                                                                                                                                                    STATE001148
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Countya
                                                                                                              d                                                                                                                         b
               Defendant                  Allegation              Election Involved       Cause/Case Number            Charge(s)           # Offenses Charged   Resolution Date   Statute Violated                         Disposition
                                                                                                                  5 Counts -Method of
                                   Vote Harvesting/Mail Ballot                                                   Returing Marked Ballot
                                                                 2012 Primary Election                                                                                                                  Pled guilty to Method of Returning Marked Ballot
Cameron      Jose Angel Garcia    Fraud - Method of Returning                              2015-DCR-00270-D       fewer than 10 offical             5              06/12/15          E.C. 86.006
                                                                        Runoff                                                                                                                          <10 (Class B). Sentenced to two days county jail.
                                         Marked Ballot                                                         ballots/carrier envelopes
                                                                                                                          (SJF)
                                                                                                                    3 counts - Carrier
                                                                                       14-CCR-02981-B/14-CCR-
                                                                                                                Envelope Action: Person
                                  Vote Harvesting/Mail Ballot                           02986-B/14-CCR-02988-                                                                                           Pled guilty to Carrier Envelope Action by Person
                                                                 2012 Primary Election                        Other than voter (Misd B),                                          E.C 86.0051 / E.C
Cameron      Margarita Ozuna       Fraud/Assistance Fraud;                               B/14-CCR-02990-B/14-                                       6              08/10/15                             Other than Voter. Sentenced to 15 days county
                                                                        Runoff                                    3 counts - Method of                                                 86.006
                                       Influencing Voter                                 CCR-02992-B/14-CCR-                                                                                            jail and $250.00 fine/court cost.
                                                                                                                Returning Marked Ballot
                                                                                                02994-B
                                                                                                                        (Misd B)
                                                                                                                   1 count - Unlawful
                                                                                       14-CCR-02978-C/14-CCR-
                                                                                                               Assistance to Voter (Misd
                                                                                        02998-C/14-CCR-03000-
                                                                                                                 A), 1 count - Assisting
                                                                                         C/14-CCR-03001-C/14-                                                                      E.C 64.036/ E.C      Pled guilty to Class A misdemeanor Unlawful
                                  Vote Harvesting/Mail Ballot                                                 Voter Violation (Misd. A) ,4
                                                                 2012 Primary Election   CCR-03002-C/14-CCR-                                                                        86.010/ E.C         Assistance of a Voter. 12 months of deferred
Cameron       Vicenta Verino       Fraud/Assistance Fraud;                                                     counts - Carrier Envelope           10              08/19/15
                                                                        Runoff          03004-C/14-CCR-03005-                                                                      86.0051/    E.C      adjudication, $250 fine, and refraining from
                                       Influencing Voter                                                      Action: Person Other than
                                                                                         C/14-CCR-03006-C/14-                                                                           86.006          handling mail ballots and assisting voters.
                                                                                                              voter (Misd. B), 4 counts -
                                                                                         CCR-03007-C/14-CCR-
                                                                                                                  Method of Returning
                                                                                                03008-C
                                                                                                                Marked Ballot (Misd. B)
                                                                                                                                                                                                        Waived a jury trial and pled guilty to one count of
                                    Forgery/Tampering with                                                          1 Count of Tampering w /                                                            3rd degree felony Forgery. Court convicted
         c
Harris         Avery Ayers       peitition for candidacy - forged 2014 General Election        1476757               a Governmental Record            1            10/06/15           P.C. 32.21        defendant and sentenced him to five (5) years
                                             signatures                                                                       (SJF)                                                                     TDCJ-Institutional Division. No fine, court costs or
                                                                                                                                                                                                        restitution
                                                                                                                                                                                                        Pled guilty to Class B misdemeanor Method or
                                                                                                                   1 Count - Carrier Envelope
                                                                                                                                                                                                        Returning Ballot. Court sentenced her to one year
                                  Vote Harvesting/Mail Ballot                                                      Action: Person Other than
                                                                 2012 Primary Election      14-CCR-02982-C                                                                                              of community supervision-deferred adjudication,
Cameron       Sarah Perales        Fraud/Assistance Fraud;                                                         voter (Misd. B), 1 Count -         2            10/28/15          E.C. 86.006
                                                                        Runoff              14-CCR-03009-C                                                                                              plus a fine of $150 and court costs. Defendant
                                       Influencing Voter                                                              Method of Returning
                                                                                                                                                                                                        was ordered to refrain from assisting voters or
                                                                                                                     Marked Ballot (Misd. B)
                                                                                                                                                                                                        other politiquera activity
                                                                                                                      1 Count Illegal Voting                                                            Pled no contest to Count 1 of the Indictment -
                                                                     2013 Municipal                                         (Municipal)                                                                 Illegal voting (ineligible voter-non resident) in a
Edwards       Michael Scotch       Illegal voting (residency)    Election 2014 Primary          6053                2 Counts of Tamper w/ a           4            12/07/15          E.C 64.012         plea bargain agreement. State to dismiss counts
                                                                        Election                                       Gov't rec 1 Count of                                                             2, 3 & 4. Sentenced to 24 months of deferred
                                                                                                                     Illegal Voting (Primary)                                                           adjudication community supervision, $500 fine.

                                                                                                                      1 Count Illegal Voting                                                            Pled no contest to Count 1 of the Indictment -
                                                                     2013 Municipal                                         (Municipal)                                                                 Illegal voting (ineligible voter-non resident) in a
Edwards       Tamara Scotch        Illegal voting (residency)    Election 2014 Primary          6054                2 Counts of Tamper w/ a           4            12/07/15          E.C 64.012         plea bargain agreement. State to dismiss counts
                                                                        Election                                       Gov't rec 1 Count of                                                             2, 3 & 4. Sentenced to 24 months of deferred
                                                                                                                     Illegal Voting (Primary)                                                           adjudication community supervision, $500 fine.

                                                                                                                                                                                                        Co-defendant accepted criminal responsibility for
                                                                                                                                                                                                        these offenses in plea resolving causes CR-15-
                                                                                                                    1 Count Carrier Envelope
                                                                                                                                                                                                        08767-E, CR-15-08768-E, CR-15-08769-E, CR-15-
                                  Vote Harvesting/Mail Ballot                                                       Action: Person Other than
             Guadalupe "Lupe"                                       2013 Municipal          CR-15-08765-B,                                                                        E.C. 86.0051     E.C. 08770-E, CR-15-08771-E, CR-15-08772-E, CR-15-
Hidalgo                            Fraud/Assistance Fraud;                                                          Voter, 1 count Method of          2            07/11/16
                Rivera, Jr.                                            Election             CR-15-08766-B                                                                               86.006          08773-E, CR-15-08774-E, CR-15-08775-E, CR-15-
                                       Influencing Voter                                                             Returning Marked Ballot
                                                                                                                                                                                                        08776-E, CR-15-08777-E, CR-15-08778-E, CR-
                                                                                                                               <10
                                                                                                                                                                                                        15-08779-E, CR-15-08780-E, CR-15-08781-E,
                                                                                                                                                                                                        and CR-15-08782-E.
                                                                                            CR-15-08767-E
                                                                                            CR-15-08768-E
                                                                                            CR-15-08769-E
                                                                                            CR-15-08770-E
                                                                                                                         1 Count Unlawful
                                                                                            CR-15-08771-E
                                                                                                                      Assistance to Voter, 6
                                                                                            CR-15-08772-E
                                                                                                                     counts Carrier Envelope                                                            Pled guilty to Unlawful Assistance to a Voter, Class
                                  Vote Harvesting/Mail Ballot                               CR-15-08773-E
             Guadalupe "Lupe"                                       2013 Municipal                                  Action: Person Other than                                                           A misdemeanor. Sentenced to 365 days in jail,
Hidalgo                            Fraud/Assistance Fraud;                                  CR-15-08774-E                                             16           07/11/16          E.C. 64.036
                Rivera, Sr.                                            Election                                     Voter, 6 counts Method of                                                           probated for one year of community supervision
                                       Influencing Voter                                    CR-15-08775-E
                                                                                                                     Returning Marked Ballot                                                            with a $500 fine.
                                                                                            CR-15-08776-E
                                                                                                                     <10, 3 counts Assisting
                                                                                            CR-15-08777-E
                                                                                                                          Voter Violation
                                                                                            CR-15-08778-E
                                                                                            CR-15-08779-E
                                                                                            CR-15-08780-E
                                                                                            CR-15-08781-E




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                                                                                                                           Election Fraud Violations
                                                                                                                            Prosecutions Resolved




  Countya
                                                                                                                     d                                                                                                                                b
                  Defendant                  Allegation                 Election Involved       Cause/Case Number                  Charge(s)              # Offenses Charged   Resolution Date   Statute Violated                        Disposition
                                                                                                                                                                                                                     Pled guilty to Carrier Envelope Action: Person
                                                                                                                       2 counts Carrier Envelope
                                                                                               CR-15-08761-B       CR-                                                                                               Other than Voter, Class B misdemeanor. Pre-trial
                                     Vote Harvesting/Mail Ballot                                                       Action: Person Other than
                                                                          2013 Municipal       15-08762-B       CR-15-                                                                                               diversion for a period of two years of community
   Hidalgo      Graciela Sanchez      Fraud/Assistance Fraud;                                                          Voter, 2 counts Method of                  4               07/11/16         E.C. 86.0051
                                                                             Election           08763-B        CR-15-                                                                                                supervision, pay court and probations fees,
                                          Influencing Voter                                                             Returning Marked Ballot
                                                                                                       08764-B                                                                                                       complete 24 hours of community service. Other
                                                                                                                                  <10
                                                                                                                                                                                                                     charges dismissed
                                                                                                                                                                                                                     Convicted by jury on both counts of Illegal Voting -
                                                                          2012 General                                                                                                                               Non citizen. Jury sentenced her to a period of
                                                                                                                           2 counts of illegal voting -
                                                                          Election, 2014                                                                                                                             eight (8) years in the Texas Department of
Dallas/ Tarrant Rosa Maria Ortega    Illegal Voting - Non-Citizen                                      1434155                ineligible voter (non               2               02/09/17         E.C. 64.012
                                                                         Primary Run-Off                                                                                                                             Criminal Justice Institutional Division on each
                                                                                                                                     citizen)
                                                                             Election                                                                                                                                count, sentences to run concurrently. $5,000.00
                                                                                                                                                                                                                     fine and $329.00 in court costts.

                                        Illegal Voting - voter                                                              2 counts of illegal voting,                                                              Convicted of illegal voting (2nd deg. felony).
               Manuel Rodriguez     impersonation, Illegal Voting -                                                           ineligible voter (felon,                                                               Sentenced to two (2) years in the Texas
   Edwards                                                          2014 General Election               1730                                                      2              2/27/2017       E.C. 64.012 (a) 1
                      III              ineligible voter (felon,                                                            unregistered), voted as 99-                                                               Department of Criminal Justice Institutional
                                         unregistered voter)                                                                    yr-old grandfather                                                                   Division.

                                                                        Nov. 2014 general
                                                                        election, May 2015
                                                                        RISD election, May
                                                                            2015 City of
                                                                       Rocksprings election,                               7 counts of illegal voting -
                   Rita Renee       Illegal Voting- ineligible voter   March 2016 primary                                     ineligible voter (non-                                                                 Prosecution Diversion Program - stipulation of
   Edwards                                                                                          CX7779096408                                                  7               12/20/17         E.C. 64.012
                    Johnson                  (non-resident)             election, May 2016                                   resident) - 2nd degree                                                                  guilt to 7 counts Illegal Voting
                                                                        City of Rocksprings                                           Felony
                                                                        election, Nov. 2016
                                                                       general election, and
                                                                         May 2017 City of
                                                                       Rocksprings election
                                                                       Special COL Dist. 2 -
                                                                        2/13/2016; Special
                                                                       COL Dist. 2 Runoff -
                                                                                                                           4 counts of illegal voting -
               Angel Antonio De     Illegal Voting- ineligible voter      4/2/2016; Joint                                                                                                                            Prosecution Diversion Program - stipulation of
    Webb                                                                                            CX8826260117            ineligible voter (felon) -            4               01/29/18         E.C. 64.012
                  Leon, Jr.           (convicted felon, on paper)        Primary Runoff -                                                                                                                            guilt to 4 counts Illegal Voting
                                                                                                                               2nd degree Felony
                                                                            5/24/2016;
                                                                          November 2016
                                                                          General Election
                                                                        Nov. 2014 general
                                                                       election; March 2016                                3 counts of illegal voting -
                                    Illegal Voting- ineligible voter                                                                                                                                                 Prosecution Diversion Program - stipulation of
    Webb       Arturo Garcia, Jr.                                      Democratic primary;          CX8140980101            ineligible voter (felon) -            3               01/29/18         E.C. 64.012
                                      (convicted felon, on paper)                                                                                                                                                    guilt to 3 counts Illegal Voting
                                                                       May 2016 Democratic                                     2nd degree Felony
                                                                               runoff
                                                                                                                              2 counts of unlawfully
                                                                                                                                                                                                                     Prosecution Diversion Program - stipulation of
                                    Unlawfully Influencing Voter in     Mar. 2018 Primary                                  influencing voter in polling                                          E.C. 61.008; E.C.
   Medina        Patricia Barton                                                                    CX4240437617                                                  3               04/26/18                           guilt to 2 counts unlawfully influencing voter; 1
                                     Polling Place; Electioneering           Election                                             place; 1 count                                                      61.003
                                                                                                                                                                                                                     count electioneering
                                                                                                                                  electioneering
                                         Unlawfully Revealing                                                                   1 count unlawfully                                                                   Prosecution Diversion Program - stipulation of
     Hill         Aaron Torres       Information Before the Polls     2018 Primary Runoff           CX7954393300              revealing information               1               05/30/18         E.C. 61.007       guilt to 1 count unlawfully revealing information
                                                  Close                                                                       before the polls close                                                                 before the polls close
                                     Unlawfully Accepting a Voter
                                                                                                                              3 counts unlawfully                                                                    Prosecution Diversion Program - stipulation of
    Dallas       Shirley Brown      not eligible to vote, by election 2016 General Election         CX3852040670                                                  3               05/31/18         E.C. 63.012
                                                                                                                               accepting a voter                                                                     guilt to 3 counts unlawfully accepting a voter
                                                  judge
                                                                                                                            Count 1 – illegal voting,
                                                                                                                              2nd Degree Felony;
                                                                                                                                                                                                                     Prosecution Diversion Program - stipulation of
                                    Illegal voting; Election Fraud;                                                        Count 2 – election fraud,
                                                                        Mar. 2018 Primary                                                                                                          E.C. 64.012;      guilt to 1 count illegal voting, 1 count election
   Kenedy       Chriselda Olvera          False Statement on                                        CX3920309473                     Cl A;                        3               07/02/18
                                                                             Election                                                                                                            276.013; 13.007     fraud, and 1 count false statement on a
                                        Registration Application                                                           Count 3 - false statement
                                                                                                                                                                                                                     registration application
                                                                                                                               on a registration
                                                                                                                               application, Cl B

                                                                                                                            Count 1 – illegal voting,
                                                                                                                              2nd Degree Felony;
                                                                                                                                                                                                                     Prosecution Diversion Program - stipulation of
                                    Illegal voting; Election Fraud;                                                        Count 2 – election fraud,
                                                                        Mar. 2018 Primary                                                                                                          E.C. 64.012;      guilt to 1 count illegal voting, 1 count election
   Kenedy        Martin Olvera            False Statement on                                        CX8890196392                     Cl A;                        3               06/27/18
                                                                             Election                                                                                                            276.013; 13.007     fraud, and 1 count false statement on a
                                        Registration Application                                                           Count 3 - false statement
                                                                                                                                                                                                                     registration application
                                                                                                                               on a registration
                                                                                                                               application, Cl B




                                                                                                                                                                                                                                          STATE001150
                                                                                                                         Information as of 11/5/2021                                                                                                           Page 7
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                                                                                                                      Election Fraud Violations
                                                                                                                       Prosecutions Resolved




 Countya
                                                                                                                d                                                                                                                              b
                 Defendant                  Allegation               Election Involved     Cause/Case Number                 Charge(s)              # Offenses Charged   Resolution Date   Statute Violated                      Disposition
                                                                                                                       Count 1 – illegal voting,
                                                                                                                         2nd Degree Felony;
                                                                                                                                                                                                              Prosecution Diversion Program - stipulation of
                                   Illegal voting; Election Fraud;                                                    Count 2 – election fraud,
               Heather Lauren                                        Mar. 2018 Primary                                                                                                       E.C. 64.012;     guilt to 1 count illegal voting, 1 count election
  Kenedy                                 False Statement on                                   CX4641286029                       Cl A;                      3               06/05/18
                   Miller                                                 Election                                                                                                         276.013; 13.007    fraud, and 1 count false statement on a
                                       Registration Application                                                       Count 3 - false statement
                                                                                                                                                                                                              registration application
                                                                                                                           on a registration
                                                                                                                           application, Cl B
                                                                                                                       Count 1 – illegal voting,
                                                                                                                         2nd Degree Felony;                                                                   Convicted of unlawfully assisting/influencing voter
                                     Vote Harvesting/Mail Ballot                                                        Count 2 – method of                                                                   with mail ballot (E.C. 64.036); 12 months jail,
Nueces/ San     Rosita Torres                                          Robstown 2016          S-18-3065-CR;                                                                                  E.C. 64.012;
                                   Fraud/Assistance Fraud/Illegal                                                     returning marked ballot,              3              6/12/2018                          probated for 18 months; $1000 fine; 10 days
  Patricio         Flores                                                 General              18-CR-83358                                                                                  86.006; 64.036
                                               voting                                                                             SJF                                                                         confinement in county jail served day for day as
                                                                                                                        1 count misdemeanor                                                                   condition of probation
                                                                                                                      unlawful assistance Cl A
                                                                                                                                                                                                              Prosecution Diversion Program - stipulation of
                  Consuelo          Vote Harvesting/Mail Ballot      2016 Primary Runoff                                  2 Counts Unlawful
   Frio                                                                                       CX3772923814                                                  2              6/15/2018         E.C. 64.036      guilt to 2 Counts unlawful assistance to voters
              Barrientos Cantu       Fraud/Assistance Fraud                Election                                          Assistance
                                                                                                                                                                                                              with their mail ballots
                                                                                                                                                                                                              Prosecution Diversion Program - stipulation of
              Maria Delcarmen       Vote Harvesting/Mail Ballot      2016 Primary Runoff                                  6 Counts Unlawful
   Frio                                                                                       CX3772923814                                                  6              6/15/2018         E.C. 64.036      guilt to 6 Counts unlawful assistance to voters
                    Vela             Fraud/Assistance Fraud                Election                                          Assistance
                                                                                                                                                                                                              with their mail ballots
                                    Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
                                                                     Mar. 2016 Primary
   Starr       Miguel Moreno         Fraud - Fraudulent Use of                                CX4341881207             Application for Ballot by            1              6/26/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                                                          Election
                                   Application for Ballot by Mail                                                                Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
               Veronica Flores
   Starr                             Fraud - Fraudulent Use of       2016 Primary Runoff      CX2819749616             Application for Ballot by            1              6/25/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                   Vega
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
   Starr       Abigail Estrada       Fraud - Fraudulent Use of       2016 Primary Runoff      CX7915417228             Application for Ballot by            1              6/25/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
   Starr        Dora Barrera         Fraud - Fraudulent Use of       2016 Primary Runoff      CX4783488382             Application for Ballot by            1              6/25/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of
                                                                        2016 Primary;                                                                                                                         Prosecution Diversion Program - stipulation of
               Nitzia Marbella       Fraud - Fraudulent Use of                                                         Application for Ballot by                                            E.C. 84.0041;
   Starr                                                             2016 Primary Runoff      CX0192300090                                                  3              6/25/2018                          guilt to 1 Count fraudulent use of application for
                    Flores         Application for Ballot by Mail;                                                      Mail; 2 Counts Illegal                                               E.C. 64.012
                                                                           Election                                                                                                                           ballot by mail and 2 Counts Illegal Voting
                                           Illegal Voting                                                                       Voting
                                    Vote Harvesting/Mail Ballot
                                                                        2016 Primary;                                1 Count Fraudulent Use of                                                                Prosecution Diversion Program - stipulation of
                                     Fraud - Fraudulent Use of                                                                                                                              E.C. 84.0041;
   Starr        Eusebio Lopez                                        2016 Primary Runoff      CX6220705016            Application for Ballot by             2              6/26/2018                          guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail;                                                                                                                           E.C. 64.012
                                                                           Election                                  Mail; 1 Count Illegal Voting                                                             ballot by mail and 1 Count Illegal Voting
                                           Illegal Voting
                                    Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of
                                                                        2016 Primary;                                                                                                                         Prosecution Diversion Program - stipulation of
                                     Fraud - Fraudulent Use of                                                         Application for Ballot by                                            E.C. 84.0041;
   Starr       Adelaida Lopez                                        2016 Primary Runoff      CX1897927803                                                  3              6/26/2018                          guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail;                                                      Mail; 2 Counts Illegal                                               E.C. 64.012
                                                                           Election                                                                                                                           ballot by mail and 2 Counts Illegal Voting
                                           Illegal Voting                                                                       Voting
                                    Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of
                                                                        2016 Primary;                                                                                                                         Prosecution Diversion Program - stipulation of
                                     Fraud - Fraudulent Use of                                                         Application for Ballot by                                            E.C. 84.0041;
   Starr        Alayssa Lopez                                        2016 Primary Runoff      CX9033550035                                                  3              6/26/2018                          guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail;                                                      Mail; 2 Counts Illegal                                               E.C. 64.012
                                                                           Election                                                                                                                           ballot by mail and 2 Counts Illegal Voting
                                           Illegal Voting                                                                       Voting
                                    Vote Harvesting/Mail Ballot                                                       1 Count Fraudulent Use of
                                                                        2016 Primary;                                                                                                                         Prosecution Diversion Program - stipulation of
                  Zeida S.           Fraud - Fraudulent Use of                                                         Application for Ballot by                                            E.C. 84.0041;
   Starr                                                             2016 Primary Runoff      CX9693226046                                                  3              6/25/2018                          guilt to 1 Count fraudulent use of application for
                 Maldonado         Application for Ballot by Mail;                                                      Mail; 2 Counts Illegal                                               E.C. 64.012
                                                                           Election                                                                                                                           ballot by mail and 2 Counts Illegal Voting
                                           Illegal Voting                                                                       Voting
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
               Jose Guadalupe
   Starr                             Fraud - Fraudulent Use of       2016 Primary Runoff      CX0876257916             Application for Ballot by            1              6/25/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                   Garcia
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
   Starr       Andrea Martinez       Fraud - Fraudulent Use of       2016 Primary Runoff      CX5913948503             Application for Ballot by            1              6/25/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot         2016 Primary;                                 1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
   Starr      Rudolfo A. Trevino     Fraud - Fraudulent Use of       2016 Primary Runoff      CX4183309968             Application for Ballot by            1              6/26/2018         E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail          Election                                              Mail                                                                         ballot by mail
                                    Vote Harvesting/Mail Ballot
                                                                        2016 Primary;                                1 Count Fraudulent Use of                                                                Prosecution Diversion Program - stipulation of
                                     Fraud - Fraudulent Use of                                                                                                                              E.C. 84.0041;
   Starr       Raul Lozano Jr.                                       2016 Primary Runoff      CX6361275996            Application for Ballot by             2              6/26/2018                          guilt to 1 Count fraudulent use of application for
                                   Application for Ballot by Mail;                                                                                                                           E.C. 64.012
                                                                           Election                                  Mail; 1 Count Illegal Voting                                                             ballot by mail and 1 Count Illegal Voting
                                           Illegal Voting
                                    Vote Harvesting/Mail Ballot
                                                                        2016 Primary;                                1 Count Fraudulent Use of                                                                Prosecution Diversion Program - stipulation of
                 Deyla Maria         Fraud - Fraudulent Use of                                                                                                                              E.C. 84.0041;
   Starr                                                             2016 Primary Runoff      CX2635106999            Application for Ballot by             2              6/26/2018                          guilt to 1 Count fraudulent use of application for
                   Garcia          Application for Ballot by Mail;                                                                                                                           E.C. 64.012
                                                                           Election                                  Mail; 1 Count Illegal Voting                                                             ballot by mail and 1 Count Illegal Voting
                                           Illegal Voting
                                    Vote Harvesting/Mail Ballot
                                                                                                                      1 Count False Statement                                                                 Prosecution Diversion Program - stipulation of
                                     Fraud - Fraudulent Use of          2018 March                                                                                                           E.C. 13.007;
  Kenedy        Lariah Saenz                                                                  CX9041380477            on Application; 1 Count               2              7/17/2018                          guilt to 1 Count False Statement on Application
                                   Application for Ballot by Mail;   Democratic Primary                                                                                                      E.C. 64.012
                                                                                                                           Illegal Voting                                                                     and 1 Count Illegal Voting
                                           Illegal Voting


                                                                                                                                                                                                                                   STATE001151
                                                                                                                    Information as of 11/5/2021                                                                                                         Page 8
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                                                                                                                         Election Fraud Violations
                                                                                                                          Prosecutions Resolved




  Countya
                                                                                                                   d                                                                                                                             b
                   Defendant                   Allegation                 Election Involved    Cause/Case Number                 Charge(s)             # Offenses Charged   Resolution Date   Statute Violated                      Disposition
                                       Vote Harvesting/Mail Ballot
                                                                                                                         1 Count False Statement                                                                  Prosecution Diversion Program - stipulation of
                                        Fraud - Fraudulent Use of            2018 March                                                                                                         E.C. 13.007;
  Kenedy            Juan Vela                                                                     CX2940077682           on Application; 3 Counts              4              7/17/2018                           guilt to 1 Count False Statement on Application
                                      Application for Ballot by Mail;     Democratic Primary                                                                                                    E.C. 64.012
                                                                                                                              Illegal Voting                                                                      and 3 Counts Illegal Voting
                                              Illegal Voting
                                       Vote Harvesting/Mail Ballot
                                                                                                                         1 Count False Statement                                                                  Prosecution Diversion Program - stipulation of
                                        Fraud - Fraudulent Use of            2018 March                                                                                                         E.C. 13.007;
  Kenedy        Leticia Munoz Vela                                                                CX8789204507           on Application; 5 Counts              6              7/17/2018                           guilt to 1 Count False Statement on Application
                                      Application for Ballot by Mail;     Democratic Primary                                                                                                    E.C. 64.012
                                                                                                                              Illegal Voting                                                                      and 5 Counts Illegal Voting
                                              Illegal Voting
                                                                                                                         1 Count False statement
                                                                                                                         on application; 2 Counts
                                                                                                                                                                                                                  Prosecution Diversion Program - stipulation of
                                       Vote Harvesting/Mail Ballot                                                         False information on                                               E.C. 13.007; E.C.
                                                                                                                                                                                                                  guilt to 1 Count False statement on application; 2
                                        Fraud - Fraudulent Use of            2016 March                                   application for ballot by                                             84.0041; P.C.
    Starr       Guadalupe Garza                                                                   CX8930944834                                                 6              7/25/2018                           Counts False information on application for ballot
                                      Application for Ballot by Mail;     Democratic Primary                             mail; 2 Counts Tampering                                                  37.10;
                                                                                                                                                                                                                  by mail; 2 Counts Tampering with a governmental
                                              Illegal Voting                                                               with a governmental                                                   E.C. 64.012
                                                                                                                                                                                                                  record; 1 Count Illegal Voting
                                                                                                                          record; 1 Count Illegal
                                                                                                                                   Voting
                                                                                                                         1 Count False statement
                                                                                                                         on application; 2 Counts
                                                                                                                                                                                                                  Prosecution Diversion Program - stipulation of
                                       Vote Harvesting/Mail Ballot                                                         False information on                                               E.C. 13.007; E.C.
                                                                                                                                                                                                                  guilt to 1 Count False statement on application; 2
                  Brandon Lee           Fraud - Fraudulent Use of            2016 March                                   application for ballot by                                             84.0041; P.C.
    Starr                                                                                         CX6232993804                                                 6              7/25/2018                           Counts False information on application for ballot
                     Garza            Application for Ballot by Mail;     Democratic Primary                             mail; 2 Counts Tampering                                                  37.10;
                                                                                                                                                                                                                  by mail; 2 Counts Tampering with a governmental
                                              Illegal Voting                                                               with a governmental                                                   E.C. 64.012
                                                                                                                                                                                                                  record; 1 Count Illegal Voting
                                                                                                                          record; 1 Count Illegal
                                                                                                                                   Voting
                                                                                                                         Count 1 – carrier envelope                                                               Convicted of unlawful possession of a ballot
                                                                                                                                action, SJF;                                                                      (86.006); carrier envelope action other than voter
                                                                                                                            Count 2 – method of                                                                   (86.0051); and unlawfully assisting voter with a
                                       Vote Harvesting/Mail Ballot                                18-CR-83109;            returning marked ballot,                                             E.C. 86.0051;      mail ballot (86.010); sentenced to 180 days jail
Nueces/ San        Cynthia Kay                                             Robstown 2016
                                     Fraud/Assistance Fraud/Illegal                               18-CR-83110;                      SJF;                       4              8/14/2018       86 006; 64.036;     probated for 540 days, 180 days probated for 540
  Patricio          Gonzales                                               Primary Runoff
                                                 voting                                           18-CR-83111            Count 3 – assisting voter,                                               64.012          days, and 365 days probated for 540 days and a
                                                                                                                                  SJF; and                                                                        $500 fine, respectively. Sentenced to served 5
                                                                                                                          Count 4 – illegal voting,                                                               days county jail, day for day, as condition of
                                                                                                                             2nd Degree Felony                                                                    probation.
                                                                                                                                                                                                                  Convicted of two counts of Illegal Voting for
                                                                                                                          Cause 1 - illegal voting -
                  Laura Janeth                                                                                                                                                                                    impersonating a voter and voting when she was
  Harris/                              Illegal Voting (non-citizen);                              18-05-06033;             voter impersonation;
                Garza AKA Angie                                      2016 General Election                                                                     2              9/13/2018         E.C. 64.012       not eligible to vote (noncitizen); 10 years TDCJ
Montgomery                           Impersonation of a U.S. Citizen                              18-05-06032             Cause 2 - Illegal voting
                 Yadira Zamora                                                                                                                                                                                    probated for 10 years, with 180 days in jail as
                                                                                                                               (non-citizen)
                                                                                                                                                                                                                  condition, $10,000 fine probated for 10 years.

                                                                                                                         1 Count False statement
                                                                                                                         on application; 2 Counts
                                                                                                                                                                                                                  Prosecution Diversion Program - stipulation of
                                       Vote Harvesting/Mail Ballot                                                          False information on                                               E.C. 13.007;
                                                                                                                                                                                                                  guilt to 1 Count False statement on application; 2
                                        Fraud - Fraudulent Use of            2016 March                                   application for ballot by                                            E.C. 84.0041;
    Starr        Artemio Lopez                                                                    CX8019112853                                                 8              9/17/2018                           Counts False information on application for ballot
                                      Application for Ballot by Mail;     Democratic Primary                             mail; 2 Counts Tampering                                               P.C. 37.10;
                                                                                                                                                                                                                  by mail; 2 Counts Tampering with a governmental
                                              Illegal Voting                                                                with a governmental                                                 E.C. 64.012
                                                                                                                                                                                                                  record; 2 Counts Illegal Voting
                                                                                                                          record; 3 Counts Illegal
                                                                                                                                    Voting
                                     False Statement on Application -
                                          Mail Ballot Fraud/Vote           2016 Democratic                                False Statement on Mail                                                                 Convicted of False Statement on Mail Ballot
  Tarrant        Charles Jackson                                                                    1565412                                                    1               4/6/2019         E.C. 84.0041
                                       Harvesting - Forged Voter's         Primary Election                                   Ballot Application                                                                  Application; sentenced to 10 days county jail.
                                                Signature
                                                                                                                         2 Counts - Tampering with
                                           Tampering with a
                                                                                                                         a Governmental Record; 2                                                                   Prosecution Diversion Program - stipulation of
                                      Governmental Record; Illegal                                                                                                                               P.C. 37.10;
                                                                                                                           Counts - Illegal Voting                                                                guilt to 2 Counts Tampering with a Governmental
    Polk         William Williams       Voting (voting ballot of     2018 General Election        CX1976897707                                                 6               8/5/2019         E.C. 64.012;
                                                                                                                            (voting mail ballot of                                                                 Record; 2 Counts Illegal Voting (voting ballot of
                                     another); Election Fraud - Mail                                                                                                                            E.C. 276.013
                                                                                                                            another); 2 Counts -                                                                           another); 2 Counts Election Fraud
                                                 Ballot
                                                                                                                               Election Fraud

                                     Illegal Voting/Mail Ballot Fraud -
                                        Impersonation of deceased                                                        Counts 1-2 - Illegal voting                                                              Dism'd for lack of evidence and in exchange for
                                                                           2016 Democratic                                                                                                      E.C. 64.012;
Starr/Hidalgo     Bernice Garza        voter, Mail ballot application                             CR-0115-19-J           Count 3 - False Statement             3              1/24/2019                           Defendant's cooperation with the State and an
                                                                           Primary Election                                                                                                     E.C. 84.0041
                                     fraud, Mail ballot cast for voter                                                   on Mail Ballot Application                                                               ongoing investigation by the Texas Rangers.
                                          who was dead 9 years

                                          False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                                  Prosecution Diversion Program - stipulation to the
                                        Registration Application;                                                         on Application, 1 Count                                               E.C. 13.007;
                                                                                                                                                                                                                  commission of 1 Count False Statement on
   Harris          John Alsup         Tampering with Government 2018 General Election             CX8794422517                Tampering with a                 3              8/17/2020          P.C. 37.10;
                                                                                                                                                                                                                  Application; 1 Count Tampering with a
                                     Record; Election Fraud - False                                                         Government Record,                                                  E.C. 276.013
                                                                                                                                                                                                                  Government Record; 1 Count Election Fraud
                                         Registration Address                                                              1 Count Election Fraud


                                                                                                                                                                                                                                      STATE001152
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                                                                                                                Election Fraud Violations
                                                                                                                 Prosecutions Resolved




Countya
                                                                                                          d                                                                                                                          b
           Defendant                  Allegation                Election Involved     Cause/Case Number                Charge(s)            # Offenses Charged   Resolution Date   Statute Violated                     Disposition

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal     2018 General                                   on Application, 3 Counts                                            E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
                               Voting; Tampering with             Election; 2019                                 Illegal Voting; 1 Count                                             E.C. 64.012;
 Harris   Betty Anderson                                                                 CX8794422517                                               6              8/14/2020                          Application; 3 Counts Illegal Voting; 1 Count
                             Government Record; Election         Special Election;                                   Tampering with a                                                 P.C. 37.10;
                                                                                                                                                                                                      Tampering with a Government Record; 1 Count
                              Fraud - False Registration          2020 Primary                                     Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                   1 Count Election Fraud

                                 False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                               Registration Application;                                                         on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
 Harris    James Core        Tampering with Government          Voter Registration       CX8794422517                Tampering with a               3              8/18/2020          P.C. 37.10;
                                                                                                                                                                                                      Application; 1 Count Tampering with a
                            Record; Election Fraud - False                                                         Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Government Record; 1 Count Election Fraud
                                Registration Address                                                              1 Count Election Fraud

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal                                                    on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
                               Voting; Tampering with                                                            Illegal Voting; 1 Count                                             E.C. 64.012;
 Harris   Michael Debello                                     2018 General Election      CX8794422517                                               4              8/12/2020                          Application; 1 Count Illegal Voting; 1 Count
                             Government Record; Election                                                             Tampering with a                                                 P.C. 37.10;
                                                                                                                                                                                                      Tampering with a Government Record; 1 Count
                              Fraud - False Registration                                                           Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                   1 Count Election Fraud

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal                                                    on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
                               Voting; Tampering with                                                            Illegal Voting; 1 Count                                             E.C. 64.012;
 Harris   Name Removed                                        2018 General Election      CX87944225--                                               4              8/17/2020                          Application; 1 Count1 Illegal Voting; 1 Count
                             Government Record; Election                                                             Tampering with a                                                 P.C. 37.10;
                                                                                                                                                                                                      Tampering with a Government Record; 1 Count
                              Fraud - False Registration                                                           Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                   1 Count Election Fraud

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal                                                    on Application, 2 Counts                                            E.C. 13.007;
                                                                  2018 General                                                                                                                        commission of 1 Count False Statement on
                               Voting; Tampering with                                                            Illegal Voting; 1 Count                                             E.C. 64.012;
 Harris    Brian Hoffner                                         Election; 2018          CX8794422517                                               5              8/14/2020                          Application; 2 Counts Illegal Voting; 1 Count
                             Government Record; Election                                                             Tampering with a                                                 P.C. 37.10;
                                                                 Primary Runoff                                                                                                                       Tampering with a Government Record; 1 Count
                              Fraud - False Registration                                                           Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                   1 Count Election Fraud

                                 False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                               Registration Application;                                                         on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
 Harris    Micaela Ladet     Tampering with Government          Voter Registration       CX8794422517                Tampering with a               3              8/18/2020          P.C. 37.10;
                                                                                                                                                                                                      Application; 1 Count Tampering with a
                            Record; Election Fraud - False                                                         Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Government Record; 1 Count Election Fraud
                                Registration Address                                                              1 Count Election Fraud

                                 False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                               Registration Application;                                                         on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
 Harris     David Levy       Tampering with Government          Voter Registration       CX8794422517                Tampering with a               3              8/14/2020          P.C. 37.10;
                                                                                                                                                                                                      Application; 1 Count Tampering with a
                            Record; Election Fraud - False                                                         Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Government Record; 1 Count Election Fraud
                                Registration Address                                                              1 Count Election Fraud

                                 False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                               Registration Application;                                                         on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
 Harris     Kyle Levy        Tampering with Government          Voter Registration       CX8794422517                Tampering with a               3              8/14/2020          P.C. 37.10;
                                                                                                                                                                                                      Application; 1 Count Tampering with a
                            Record; Election Fraud - False                                                         Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Government Record; 1 Count Election Fraud
                                Registration Address                                                              1 Count Election Fraud

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal                                                    on Application, 2 Counts                                            E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
                               Voting; Tampering with                                                             Illegal Voting, 1 Count                                            E.C. 64.012;
 Harris   Name Removed                                        2019 Special Election                                                                 6              8/11/2020                          Application; 2 Counts Illegal Voting; 1 Count
                             Government Record; Election                                                             Tampering with a                                                 P.C. 37.10;
                                                                                                                                                                                                      Tampering with a Government Record; 2 Counts
                              Fraud - False Registration                                                           Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                  2 Counts Election Fraud

                                  False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                            Registration Application; Illegal                                                    on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
                               Voting; Tampering with                                                             Illegal Voting, 1 Count                                            E.C. 64.012;
 Harris    Barnett Pate                                       2018 General Election      CX8794422517                                               4              8/18/2020                          Application; 1 Count Illegal Voting; 1 Count
                             Government Record; Election                                                             Tampering with a                                                 P.C. 37.10;
                                                                                                                                                                                                      Tampering with a Government Record; 1 Count
                              Fraud - False Registration                                                           Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Election Fraud
                                        Address                                                                   1 Count Election Fraud

                                 False Statement on                                                             1 Count - False Statement
                                                                                                                                                                                                      Prosecution Diversion Program - stipulation to the
                               Registration Application;                                                         on Application, 1 Count                                             E.C. 13.007;
                                                                                                                                                                                                      commission of 1 Count False Statement on
 Harris     John Scott       Tampering with Government          Voter Registration       CX8794422517                Tampering with a               3              8/19/2020          P.C. 37.10;
                                                                                                                                                                                                      Application; 1 Count Tampering with a
                            Record; Election Fraud - False                                                         Government Record,                                                E.C. 276.013
                                                                                                                                                                                                      Government Record; 1 Count Election Fraud
                                Registration Address                                                              1 Count Election Fraud




                                                                                                                                                                                                                          STATE001153
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                                                                                                                       Election Fraud Violations
                                                                                                                        Prosecutions Resolved




    Countya
                                                                                                                  d                                                                                                                                 b
                 Defendant                 Allegation               Election Involved       Cause/Case Number                   Charge(s)              # Offenses Charged   Resolution Date    Statute Violated                        Disposition

                                      False Statement on                                                                1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                    Registration Application;                                                            on Application, 1 Count                                                 E.C. 13.007;
                                                                                                                                                                                                                   commission of 1 Count False Statement on
     Harris     Aaron Sprecher    Tampering with Government         Voter Registration          CX8794422517                 Tampering with a                  3              8/20/2020           P.C. 37.10;
                                                                                                                                                                                                                   Application; 1 Count Tampering with a
                                 Record; Election Fraud - False                                                            Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Government Record; 1 Count Election Fraud
                                     Registration Address                                                                 1 Count Election Fraud

                                      False Statement on                                                                1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                    Registration Application;                                                            on Application, 1 Count                                                 E.C. 13.007;
                                                                                                                                                                                                                   commission of 1 Count False Statement on
     Harris     Justin Thomas     Tampering with Government         Voter Registration          CX8794422517                 Tampering with a                  3              8/12/2020           P.C. 37.10;
                                                                                                                                                                                                                   Application; 1 Count Tampering with a
                                 Record; Election Fraud - False                                                            Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Government Record; 1 Count Election Fraud
                                     Registration Address                                                                 1 Count Election Fraud

                                      False Statement on                                                                1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                    Registration Application;                                                            on Application, 1 Count                                                 E.C. 13.007;
                                                                                                                                                                                                                   commission of 1 Count False Statement on
     Harris     Name Removed      Tampering with Government         Voter Registration                                       Tampering with a                  3              8/21/2020           P.C. 37.10;
                                                                                                                                                                                                                   Application; 1 Count Tampering with a
                                 Record; Election Fraud - False                                                            Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Government Record; 1 Count Election Fraud
                                     Registration Address                                                                 1 Count Election Fraud

                                      False Statement on                                                                1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                    Registration Application;                                                            on Application, 1 Count                                                 E.C. 13.007;
                    Judith                                                                                                                                                                                         commission of 1 Count False Statement on
     Harris                       Tampering with Government         Voter Registration          CX8794422517                 Tampering with a                  3               9/2/2020           P.C. 37.10;
                 Zimmerman                                                                                                                                                                                         Application; 1 Count Tampering with a
                                 Record; Election Fraud - False                                                            Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Government Record; 1 Count Election Fraud
                                     Registration Address                                                                 1 Count Election Fraud

                                       False Statement on                                                               1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                 Registration Application; Illegal                                                       on Application, 2 Counts                                                E.C. 13.007;
                                                                       2018 General                                                                                                                                commission of 1 Count False Statement on
                   Antonia          Voting; Tampering with                                                                Illegal Voting, 1 Count                                                E.C. 64.012;
     Harris                                                        Election;        2019        CX8794422517                                                   5              8/21/2020                            Application; 2 Counts Illegal Voting; 1 Count
                  McClammy        Government Record; Election                                                                Tampering with a                                                     P.C. 37.10;
                                                                      Special Election                                                                                                                             Tampering with a Government Record; 1 Count
                                   Fraud - False Registration                                                              Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Election Fraud
                                             Address                                                                      1 Count Election Fraud

                                       False Statement on                                                               1 Count - False Statement
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                 Registration Application; Illegal                                                       on Application, 1 Count                                                 E.C. 13.007;
                                                                                                                                                                                                                   commission of 1 Count False Statement on
                                    Voting; Tampering with                                                                Illegal Voting, 1 Count                                                E.C. 64.012;
     Harris       Luis Cruz                                        2018 General Election        CX8794422517                                                   4              8/20/2020                            Application; 1 Count Illegal Voting; 1 Count
                                  Government Record; Election                                                                Tampering with a                                                     P.C. 37.10;
                                                                                                                                                                                                                   Tampering with a Government Record; 1 Count
                                   Fraud - False Registration                                                              Government Record,                                                    E.C. 276.013
                                                                                                                                                                                                                   Election Fraud
                                             Address                                                                      1 Count Election Fraud
                                                                                                                                                                                                                   Prosecution Diversion Program - stipulation to the
                                 Unlawfully Assisting Voters with   2020 Presidential                                      10 Counts Unlawfully
     Medina      A. Hitzfelder                                                                  CX8093477769                                                  10               05/19/21           E.C. 84.003      commission of 10 Counts Unlawfully Assisting
                                     Mail Ballot Applications           Election                                            Assisting Applicant
                                                                                                                                                                                                                   Applicant
                                                                                                                        1 Count - False Statement
                                       False Statement on                                                                                                                                                          Prosecution Diversion Program - stipulation to the
                                                                                                                          on Application, 1 Count                                                E.C. 13.007;
                                 Registration Application; Illegal                                                                                                                                                 commission of 1 Count False Statement on
                                                                                                                          Illegal Voting, 1 Count                                                E.C. 64.012;
    Lubbock      C. Donayre         Voting; Tampering with         2018 General Election        CX8764358848                                                   4               09/02/21                            Application; 1 Count Illegal Voting; 1 Count
                                                                                                                             Tampering with a                                                     P.C. 37.10;
                                  Government Record; Election                                                                                                                                                      Tampering with a Government Record; 1 Count
                                                                                                                           Government Record,                                                    E.C. 276.013
                                              Fraud                                                                                                                                                                Election Fraud
                                                                                                                          1 Count Election Fraud
                                                                                                                        2 Counts - Illegal Voting, 1
                                 Illegal Voting; Election Fraud;                                                         Count - Election Fraud, 1                                                                 Prosecution Diversion Program - stipulation to the
                                                                                                                                                                                                 E.C. 13.007;
                                       False Statement on            2018 General                                        Count - False Statement                                                                   commission of 1 Count False Statement on
                                                                                                                                                                                                 E.C. 64.012;
    Guadalupe    G. Gilcrease        Registration Application;   Election;        2020          CX3419210173                   on Registration                 5               10/28/21                            Application; 2 Counts Illegal Voting; 1 Count
                                                                                                                                                                                                  P.C. 37.10;
                                 Tampering with a Government        General Election                                       Application, 1 Count                                                                    Tampering with a Government Record; 1 Count
                                                                                                                                                                                                 E.C. 276.013
                                              Record                                                                          Tampering with a                                                                     Election Fraud
                                                                                                                            Government Record


                                                                                                                        Total Counts/ Offenses
                                                                                                                                                              553
                                                                                                                              Prosecuted
                                                                                                                            Mail Ballot Fraud                 310                56%          Note: significant overlap in fraud activity involving (two or more of)
                                                                                           Number of offenses related       Assistance Fraud                  169                31%          mail ballot fraud, assistance fraud, and illegal voting in the same case
                                                                                              to cases involving:             Illegal Voting                  189                34%          results in totals > 100%.

                                                                                                                              2015-present                    291
a                                                    b
  County offense occurred/County offense prosecuted. | For complete information on disposition, see judgment and sentence. Prosecution Diversion Program includes an acknowledgment of the commission of offense/s.
c
  Prosecuted with assistance of local district/county attorney pursuant to E.C. 273.002. | d Cause number, where available; otherwise, OAG investigation or prosecution case number.
This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, or federal authorities. This document
only reflects cases investigated and/or prosecuted by the OAG.




                                                                                                                                                                                                                                         STATE001154
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Countya            Defendant                        Allegation                   Election Involved          Cause Number                      Charge(s)                # Counts Charged   Date Charged      Statute Violated
                                                                                                                                     Count 1 - tampering with an
                                        Bribery, unlawfully accepting a cash                                                               elect on record;
Jefferson/                                 contribut on ($5,000/$1,000),                                                           Count 2 - unlawfully accepting a                                            P.C. 37.10;
              Zena Collins Stephens                                             2016 General Election         18DCR0152                                                       3            4/26/2018
Chambers                                tampering w th a campaign finance                                                                 cash contribut on;                                                  E.C. 253.033
                                                       report                                                                      Count 3 - unlawfully accepting a
                                                                                                                                          cash contribution


                                                                                                                                   Count 1 - unlawfully accepting a
Jefferson/                              Bribery, unlawfully accepting a cash                                                              cash contribut on;                                                  E.C. 253.033;
                 Ray Elliott Beck                                               2016 General Election         18DCR0153                                                       2            4/26/2018
Chambers                                            contribution                                                                     Count 2 - failure to return a                                               254.034
                                                                                                                                        political contribution




Jefferson/       Joseph Sterling        Bribery, unlawfully accepting a cash 2016 Democratic Primary                                  Unlawfully accepting a cash
                                                                                                              18DCR0154                                                       1            4/26/2018          E.C. 253.033
Chambers           Stevenson                        contribution                    Elect on                                                 contribution



                                                                                                           CR-18-08298-G;
                                                                                                           CR-18-08299-G;
                                                                                                           CR-18-08300-G;
                                                                                                           CR-18-08301-G;              Misdemeanor cases 1-10 -
                                          Unlawfully assisting/influencing       2016 City of Hidalgo      CR-18-08302-G;           Unlawfully Assisting/influencing
 Hidalgo        Marcela Gutierrez                                                                                                                                             11            6/1/2018       E.C. 64.036; 64.012
                                               voters; illegal voting              Runoff Elect on         CR-18-08303-G;                       Voters;
                                                                                                           CR-18-08304-G;            Felony count 1 - Illegal Voting
                                                                                                           CR-18-08305-G;
                                                                                                           CR-18-08306-G;
                                                                                                           CR-18-08307-G


                                                                                                           CR-18-08296-A;
                                          Unlawfully assisting/influencing       2016 City of Hidalgo                                   Counts 1-3 - unlawfully
 Hidalgo          Sara Ornelas                                                                             CR-18-08297-A;                                                     3            5/31/2018          E.C. 64.036
                                                      voters                       Runoff Elect on                                    assisting/influencing voters
                                                                                                           CR-18-08170-A




                                                                                                           CR-18-08167-H;
                                          Unlawfully assisting/influencing       2016 City of Hidalgo      CR-18-08168-H;               Counts 1-4 - unlawfully
 Hidalgo          Sylvia Arjona                                                                                                                                               4            5/31/2018          E.C. 64.036
                                                      voters                       Runoff Elect on         CR-18-08169-H;             assisting/influencing voters
                                                                                                           CR-18-08295-H

                                         Illegal Voting - voting another's
                                        ballot; Vote Harvesting/Mail Ballot                                                            Count 1 - Illegal voting
                                                                               2016 Democratic Primary                                                                                                     E.C. 64.012 (a) 4;
 Tarrant         Leticia Sanchez                       Fraud                                                   1565416             Counts 2-17 - False Statement on           17           10/10/2018
                                                                                      Elect on                                                                                                                E.C. 84.0041
                                          False Statement on Mail Ballot                                                                Mail Ballot Application
                                                    Application
                                          False Statement on Mail Ballot
                                                                               2016 Democratic Primary                             Counts 1-9 - False Statement on
 Tarrant     Let cia Sanchez Tep chin    Appl cat on; Vote Harvesting/Mail                                     1565415                                                        9            10/10/2018         E.C. 84.0041
                                                                                      Elect on                                         Mail Ballot Application
                                                    Ballot Fraud

                                          False Statement on Mail Ballot
                                                                               2016 Democratic Primary                             Counts 1-2 - False Statement on
 Tarrant        Maria Rosa Solis         Appl cat on; Vote Harvesting/Mail                                     1565413                                                        2            10/10/2018         E.C. 84.0041
                                                                                      Elect on                                         Mail Ballot Application
                                                    Ballot Fraud

                                          False Statement on Mail Ballot
                                                                               2016 Democratic Primary                         Counts 1 - False Statement on Mail
 Tarrant           Laura Parra           Appl cat on; Vote Harvesting/Mail                                     1565155                                                        1            10/10/2018         E.C. 84.0041
                                                                                      Elect on                                         Ballot Application
                                                    Ballot Fraud




                                                                                                                                                                                                       STATE001155
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Countya          Defendant                    Allegation                   Election Involved          Cause Number                     Charge(s)               # Counts Charged   Date Charged     Statute Violated




Navarroc        Marites Curry         Illegal Voting - Non-Citizen      2016 Presidential Election      D38883-CR                     Illegal Voting                  1            12/20/2018        E.C. 64.012




                                  Election Fraud - False Statement to
Harrisc       Anthony Rodriguez                                          2018 General Election           1629438               Counts 1-2 - Election Fraud            2            4/26/2019         E.C. 276.013
                                            Election Official




                                                                                                                             Count 1 - Engaging in Organized
                                   Organized Election Fraud - Illegal     2017 City of Edinburg                                                                                                      E.C. 276.011;
H dalgoc       R cardo Molina                                                                         CR-2056-19-A                    Election Fraud                  12            6/6/2019
                                                Voting                          Election                                                                                                              E.C. 64.012
                                                                                                                               Counts 2-12 - Illegal Voting

                                                                                                                             Count 1 - Engaging in Organized
          c                        Organized Election Fraud - Illegal     2017 City of Edinburg                                                                                                      E.C. 276.011;
H dalgo          Dalia Molina                                                                         CR-2057-19-A                    Election Fraud                  3             6/6/2019
                                                Voting                          Election                                                                                                              E.C. 64.012
                                                                                                                               Counts 2-3 - Illegal Voting

                                                                                                                             Count 1 - Engaging in Organized
                                   Organized Election Fraud - Illegal     2017 City of Edinburg                                                                                                      E.C. 276.011;
H dalgoc        Jul o Carranza                                                                        CR-2058-19-A                    Election Fraud                  3             6/6/2019
                                                Voting                          Election                                                                                                              E.C. 64.012
                                                                                                                               Counts 2-3 - Illegal Voting

                                                                                                                             Count 1 - Engaging in Organized
                                   Organized Election Fraud - Illegal     2017 City of Edinburg                                                                                                      E.C. 276.011;
H dalgoc      Araceli Gutierrez                                                                       CR-3349-19-A                    Election Fraud                  2            8/22/2019
                                                Voting                          Election                                                                                                              E.C. 64.012
                                                                                                                                 Count 2 - Illegal Voting


                                                                          2017 City of Edinburg
H dalgoc         Alyssa Cano                 Illegal Voting                                           CR-3493-19-A                    Illegal Voting                  1            8/29/2019         E.C. 64.012
                                                                                Election


                                                                          2017 City of Edinburg
H dalgoc      Belinda Rodriguez              Illegal Voting                                           CR-3343-19-A                    Illegal Voting                  1            8/22/2019         E.C. 64.012
                                                                                Election


                                                                          2017 City of Edinburg
H dalgoc      Brenda Rodriguez               Illegal Voting                                           CR-3344-19-A                    Illegal Voting                  1            8/22/2019         E.C. 64.012
                                                                                Election


          c                                                               2017 City of Edinburg
H dalgo       Crystal Lee Ponce              Illegal Voting                                           CR-3341-19-A                    Illegal Voting                  1            8/22/2019         E.C. 64.012
                                                                                Election


                                                                          2017 City of Edinburg
H dalgoc       Cynthia Tamez                 Illegal Voting                                           CR-3339-19-A                    Illegal Voting                  1            8/22/2019         E.C. 64.012
                                                                                Election


          c                                                               2017 City of Edinburg
H dalgo         Daniel Castillo              Illegal Voting                                           CR-3494-19-A                    Illegal Voting                  1            8/29/2019         E.C. 64.012
                                                                                Election


                                                                          2017 City of Edinburg
H dalgoc      Felisha Rodriguez              Illegal Voting                                           CR-3346-19-A                    Illegal Voting                  1            8/22/2019         E.C. 64.012
                                                                                Election



                                                                                                                                                                                               STATE001156
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Countya            Defendant                       Allegation                   Election Involved            Cause Number                   Charge(s)                  # Counts Charged   Date Charged       Statute Violated

                                                                               2017 City of Edinburg
 H dalgoc      Francisco Tamez, Jr.               Illegal Voting                                             CR-3348-19-A           Counts 1-2 - Illegal Voting               2             8/22/2019           E.C. 64.012
                                                                                     Election


          c                                                                    2017 City of Edinburg
 H dalgo         Guadalupe Garza                  Illegal Voting                                             CR-3342-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc          Jose Martinez                  Illegal Voting                                             CR-3347-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc            Jose Vela                    Illegal Voting                                             CR-3491-19-A                  Illegal Voting                     1             8/29/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc          Ludivina Leal                  Illegal Voting                                             CR-3492-19-A                  Illegal Voting                     1             8/29/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc         Maria Aleman                    Illegal Voting                                             CR-3338-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc       Rosendo Rodriguez                 Illegal Voting                                             CR-3345-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc          Ruby Tamez                     Illegal Voting                                             CR-3340-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election


                                                                               2017 City of Edinburg
 H dalgoc      Veronica Vela Saenz                Illegal Voting                                             CR-3337-19-A                  Illegal Voting                     1             8/22/2019           E.C. 64.012
                                                                                     Election

                                                                                                                                 1 count of Aggravated Perjury, 1
                                                                                2017 City of Cibolo
                                       Tampering w th Government Record                                                         count of Tampering w/Government
                                                                                    Election;                19-2108-CR-C;                                                                                      P.C. 37.03;
Guadalupe       Stan "Stosh" Boyle     - Application for Candidacy - Felony                                                      Record with Intent to Defraud, 1             3           9/5/19; 7/26/19
                                                                                2019 City of Cibolo           CCL-19-0809                                                                                       P.C. 37.10
                                          Conviction/Ineligible for Office                                                          count of Tampering with a
                                                                                     Elect on
                                                                                                                                       Government Record

                                                                                                                                 1 count of Engaging in Organized
                                                                                                                                  Election Fraud (F2), 7 counts of
                                                                                                                                 Fraudulent Use of an Application
                                                                                                                                for Ballot by Mail (F3), 2 counts of                                          E.C. 276.011;
                                         Organized Election Fraud - Vote
 Greggc       Shannon Everette Brown                                          2018 Democratic Primary           50953-B                Unlawful Possession of                 23            9/23/2020       84.0041; 86.006;
                                                   Harvesting
                                                                                                                                  Ballot/Ballot Envelope (SJF), 8                                           276.013; PC 37.10
                                                                                                                                counts of Election Fraud (SJF), and
                                                                                                                                   5 counts of Tampering with a
                                                                                                                                    Governmental Record (SJF)
                                                                                                                                 1 count of Engaging in Organized
                                                                                                                                   Election Fraud (F1), 1 count of
                                                                                                                                  Illegal Voting (F2), 31 counts of
                                                                                                                                 Fraudulent Use of an Application                                              E.C. 276.011;
                Marlena Roseanne         Organized Election Fraud - Vote                                                        for Ballot by Mail (F3), 7 counts of                                         64.012; 84.0041;
 Greggc                                                                       2018 Democratic Primary           50949-B                                                       97            9/23/2020
                     Jackson                       Harvesting                                                                          Unlawful Possession of                                               86.006; 276.013; PC
                                                                                                                                  Ballot/Ballot Envelope (SJF), 31                                                 37.10
                                                                                                                                counts of Election Fraud (SJF), and
                                                                                                                                   26 counts of Tampering w th a
                                                                                                                                     Governmental Record (SJF)




                                                                                                                                                                                                     STATE001157
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 Countya          Defendant                   Allegation                 Election Involved          Cause Number                     Charge(s)                 # Counts Charged   Date Charged     Statute Violated
                                                                                                                        1 count of Engaging in Organized
                                                                                                                          Election Fraud (F3), 1 count of
                                                                                                                         Fraudulent Use of an Application
                                                                                                                                                                                                     E.C. 276.011;
                                    Organized Election Fraud - Vote                                                    for Ballot by Mail (SJF), 5 counts of
 Greggc        Charlie Burns, Jr.                                     2018 Democratic Primary          50951-B                                                        8            9/23/2020       84.0041; 86.006;
                                              Harvesting                                                                     Unlawful Possession of a
                                                                                                                                                                                                   276.013; PC 37.10
                                                                                                                       Ballot/Ballot Envelope (SJF), and 1
                                                                                                                            count of Tampering with a
                                                                                                                            Governmental Record (SJF)
                                                                                                                          1 count Engaging in Organized
                                                                                                                          Election Fraud (F1), 1 count of
                                                                                                                         Unlawful Possession of Ballot or
                                    Organized Election Fraud - Vote
 Greggc         DeWayne Ward                                          2018 Democratic Primary          50947-B             Carrier Envelope without the               6            9/23/2020      E.C. 276.011; 86.006
                                              Harvesting
                                                                                                                         Consent of the Voter (F2), and 4
                                                                                                                          counts Unlawful Possession of
                                                                                                                           Ballot/Ballot Envelope (SJF)

                                                                                                                           67 counts Purportedly Acting as
                                    Voter Registration Fraud - Vote
Limestonec   Kelly Reagan Brunner                                     2020 Presidential Election       15126-A              Agent (F3), 67 counts Election           134           10/21/2020     E.C. 13.006; 276.013
                                              Harvesting
                                                                                                                                     Fraud (SJF)


                                                                                                                          1 count Engaging in Organized
                                                                                                                            Elect on Fraud (F1), 9 counts
                                                                                                                            Illegal Voting (F2), 15 counts
                                                                                                                                 Unlawful Possession of
                                                                                                                         Ballot/Ballot Envelope Enhanced
                                                                                                                        (SJF), 3 counts Purportedly Acting                                         E.C. 276.011; E.C.
                                                                                                                              as an Agent (F3), 5 counts                                          64.012; E.C. 86.006;
Medina/                             Organized Election Fraud - Vote                                                           Tampering w/Government                                                E.C. 13.006; P.C.
               Eva Ann Martinez                                       2018 Republican Primary         CR21-022                                                        64            2/9/2021
Banderaa                                      Harvesting                                                                  Document w/Intent to Harm or                                            37.10; E.C. 276.013;
                                                                                                                        Defraud (SJF), 14 counts Election                                          E.C. 84.0041; E.C.
                                                                                                                          Fraud Enhanced (SJF), 4 counts                                                 86.010
                                                                                                                            Fraudulent Use of Mail Ballot
                                                                                                                           Application Enhanced (F3), 13
                                                                                                                         counts Unlawfully Assisting Voter
                                                                                                                          Voting Ballot by Mail Enhanced
                                                                                                                                          (F3)
                                                                                                                          1 count Engaging in Organized
                                                                                                                            Election Fraud (F1); 2 counts
                                                                                                                          Illegal Voting (F2); 8 counts of
                                                                                                                                                                                                   E.C. 276.011; E.C.
                                                                                                                                 Unlawful Possession of
Medina/                             Organized Election Fraud - Vote                                                                                                                               64.012; E.C. 86.006;
              Leonor Rivas Garza                                      2018 Republican Primary         CR21-019           Ballot/Ballot Envelope Enhanced              18            2/9/2021
Banderaa                                      Harvesting                                                                                                                                           E.C. 276.013; E.C.
                                                                                                                           (SJF); 2 counts Election Fraud
                                                                                                                                                                                                        84.0041
                                                                                                                               Enhanced (SJF); 5 counts
                                                                                                                            Fraudulent Use of Mail Ballot
                                                                                                                              Application Enhanced (F3)
                                                                                                                          1 count Engaging in Organized
                                                                                                                            Election Fraud (F1); 9 counts
                                                                                                                             Illegal Voting (F2); 2 counts
                                                                                                                                 Unlawful Possession of
                                                                                                                         Ballot/Ballot Envelope Enhanced
                                                                                                                                                                                                   E.C. 276.011; E.C.
                                                                                                                         (SJF); 1 count Fraudulent Use of
                                                                                                                                                                                                  64.012; E.C. 86.006;
Medina/                             Organized Election Fraud - Vote                                                      Mail Ballot Applicat on Enhanced
             Mary Jane Balderrama                                     2018 Republican Primary         CR21-020                                                        25            2/9/2021        P.C. 37.10; E.C.
Banderaa                                      Harvesting                                                               (F3); 2 Counts Unlawfully Assisting
                                                                                                                                                                                                      276.013; E.C.
                                                                                                                              Voter Voting Ballot by Mail
                                                                                                                                                                                                  84.0041; E.C. 86.010
                                                                                                                                Enhanced (F3); 2 counts
                                                                                                                              Tampering w/Government
                                                                                                                        Document with Intent to Harm or
                                                                                                                         Defraud (SJF); 8 counts Election
                                                                                                                                 Fraud Enhanced (SJF)



                                                                                                                                                                                               STATE001158
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                                                                                                             Prosecut ons Pending



      Countya            Defendant                       Allegation                  Election Involved          Cause Number                     Charge(s)                 # Counts Charged        Date Charged        Statute Violated
                                                                                                                                       1 count Engaging in Organized
                                                                                                                                       Election Fraud (F1); 17 counts
                                                                                                                                           Unlawful Possession of
      Medina/                                  Organized Election Fraud - Vote                                                                                                                                        E.C. 276.011; E.C.
                        Tomas Ramirez                                             2018 Republican Primary          CR21-021           Ballot/Ballot Envelope Enhanced              35                 2/9/2021
      Banderaa                                           Harvesting                                                                                                                                                  86.006; E.C. 86.010
                                                                                                                                        (SJF); 17 counts Unlawfully
                                                                                                                                      Assisting Voter Voting Ballot by
                                                                                                                                             Mail Enhanced (F3)
                                                                                                                                    1 count Illegal Voting (F2); 1 count
                                                                                                                                      Unlawful Possess on of Ballot w/                                                   E.C. 64.012;
       Bexar/          Rachel "Raquel"       Vote Harvesting, Assistance Fraud,                                     8231;            intent to defraud, v ctim over 65                                                   E.C. 86.006;
              a                                                                 2020 Presidential Election                                                                         4                  3/1/2021
      Kendall            Rodriguez              Illegal Voting, Election Fraud                                    21-078-CR         (SJF); 1 count Unlawful Assistance                                                   E.C. 64.036;
                                                                                                                                     (Cl A); 1 count Election Fraud (Cl                                                  E.C. 276.013
                                                                                                                                                      A)
                                                                                  2020 Primary Election;
      Harris/
                      Hervis Earl Rogers                Illegal Voting           2018 General and Special      21-06-08801-CR           2 counts Illegal Voting (F2)               2                  3/2/2021            E.C. 64.012
    Montgomerya
                                                                                        Elections
                                                                                                                                        1 count Fraudulent Use of
                                             Fraudulent Use of Ballot Appl cat on
                                                                                                                                      Appl cat on for Ballot by Mail,                                                    E.C. 84.0041;
       Nolanc         Kenneth Ray Teaff       - Deceased Voter Impersonation, 2020 Presidential Election        13853; 13854                                                       2                 8/17/2021
                                                                                                                                    enhanced (F3); 1 count Tampering                                                       P.C. 37.10
                                                Tampering w th Gov't Record
                                                                                                                                         with Gov't Record (SJF)




                                                                                                                                    Total Counts/ Offenses Pending
                                                                                                                                                                                  514
                                                                                                                                    Prosecution

                                                                                                              Number of offenses             Mail Ballot Fraud                    416                   81%
                                                                                                               related to cases              Assistance Fraud                     18                     4%
                                                                                                                  involving:                  Illegal Voting                      61                    12%

a
    County offense occurred/County offense prosecuted. | b Investigated by local law enforcement and referred to OAG for prosecut on | c Prosecuted with assistance of local distr ct/county attorney pursuant to E.C. 273.002.

This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, and federal
authorities. This document only reflects cases investigated and/or prosecuted by the OAG.




                                                                                                                                                                                                                 STATE001159
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